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             EXHIBIT 5
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                                                                                    1
                   UNITED STATES DISTRICT COURT
                  CENTRAL DIESTRICT OF CALIFORNIA




 WESTERN RIVERSIDE COUNCIL OF  )
 GOVERNMENTS, a California     )
 Joint Powers Authority,       )
                               )
               Plaintiff,      )
                               )
             -vs-              )           Case No.: 5:20-cv-02164
                               )           -GW(KKx)
 NATIONAL UNION FIRE           )
 INSURANCE COMPANY OF          )
 PITTSBURGH, PA, and DOES      )
  through 50, inclusive,      )
                               )
               Defendants.     )
 ______________________________)




                   DEPOSITION OF BRIAN DE FORGE
                     Thursday, April 28, 2022
                        Riverside, California
                   Reported By: Tracey R. Boyer
                             CSR No. 12346
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                                                                2                                                              3
1                  UNITED STATES DISTRICT COURT                      1        APPEARANCES
2                 CENTRAL DIESTRICT OF CALIFORNIA                    2
3                                                                    3        For the Plaintiff:
4                                                                    4        GORDON, REES, SCULLY, MANSUKHANI, LLP
5    WESTERN RIVERSIDE COUNCIL OF  )                                          BY: MEAGAN VANDER WEELE
     GOVERNMENTS, a California     )                                 5        Attorney at Law
6    Joint Powers Authority,       )                                          5 Park Plaza
                                   )                                 6        Suite 1100
7                  Plaintiff,      )
                                                                              Irvine, California 92614
                                                                     7        (312)980-6679
                                   )
                                                                              mvanderweele@grsm.com
8                -vs-              )     Case No.: 5:20-cv-02164
                                                                     8
                                   )     -GW(KKx)                    9
9    NATIONAL UNION FIRE           )                                          For the Defendant:
     INSURANCE COMPANY OF          )                                10
10   PITTSBURGH, PA, and DOES      )                                          BEST, BEST & KREIGER, LLP
     1 through 50, inclusive,      )                                11        BY: JEFFREY DUNN, ESQ.
11                                 )                                          Attorney at Law
                   Defendants.     )                                12        18101 Von Karman Avenue
12   ______________________________)                                          Suite 1000
13                                                                  13        Irvine, California 92612
14   Deposition of BRIAN DE FORGE, taken on behalf of the                     (949)263-2600
15   Defendants, at 3390 University Avenue, Fifth Floor,            14        jeff.dunn@bbklaw.com
16   Riverside, California, beginning at 10:02 a.m. and
                                                                    15
                                                                    16
17   ending at 12:04 p.m., Thursday, April 28, 2022 before
                                                                    17
18   Tracey R. Boyer, CSR 12346, a Certified Shorthand
                                                                    18
19   Reporter within and for the State of California,               19
20   pursuant to Notice.                                            20
21                                                                  21
22                                                                  22
23                                                                  23
24                                                                  24
25                                                                  25

                                                                4                                                              5
 1                 INDEX                                             1            RIVERSIDE, CALIFORNIA
 2                                                                   2           Thursday, April 28, 2022
 3     EXAMINATION BY:                                 PAGE
 4     MR. DUNN                               6                      3              10:02 a.m.
       MS. VANDERWEELE                                  74           4
 5                                                                   5         THE VIDEOGRAPHER: Good morning. We're on the
 6                                                                   6   record. This begins video number one in the deposition
 7
                 EXHIBITS                                            7   of Brian DeForge in the matter of Western Riverside
 8                                                                   8   Council of Governments et al. versus National Union Fire
       PLAINTIFF'S EXHIBITS:                                         9   Insurance et al. in the United States District Court
 9
       NUMBER          DESCRIPTION                       PAGE
                                                                    10   Central District of California. Today's date is April
10                                                                  11   28th, 2022 and the time is 10:02 a.m.
        1       Deposition Subpoena               13                12         This deposition is being taken at 3390
11                                                                  13   University Avenue, fifth floor in Riverside, California
        2       Notice Of Deposition              13
12                                                                  14   at the request of Best, Best and Kreiger. The
        3       Declaration              13                         15   videographer is Sergio Esparza of Magna Legal Services
13                                                                  16   and the court reporter is Tracey Boyer of Magna Legal
14     DEFENDANT'S EXHIBITS:
15      4     Letter                   87
                                                                    17   Services.
16      5     Letter                   88                           18         Will Counsel and all parties present state
17      6     Resolution                 92                         19   their appearances and who they represent.
18                                                                  20         MR. DUNN: Yes, my name is Jeffrey Dunn and I'm
19
20                                                                  21   with the Law Firm of Best, Best and Kreiger. We
21             INSTRUCTION NOT TO ANSWER                            22   represent both the City of Beaumont and Western
22               page 91 line 21                                    23   Riverside Council of Governments in this case.
23
24
                                                                    24         MS. VANDERWEELE: Meagan Vanderweele on behalf
25                                                                  25   of defendant National Union Fire Insurance Company of




                                                                                                    2 (Pages 2 to 5)
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                                                                6                                                              7
 1    Pittsburgh, PA.                                                1       A Yes.
 2                  BRIAN DE FORGE,                                  2       Q At any time this morning I use a term that you
 3    called as a witness on behalf of the Defendant, having         3   don't understand or need clarification, please don't
 4    been first duly administered an oath pursuant to C.C.P.        4   hesitate to let me know. You can interrupt me. You can
 5    Section 2094, was examined and testified as follows:           5   let me know anyway you like, "Hey, I don't understand
 6                                                                   6   what you're saying," or "I don't understand that word."
 7                  EXAMINATION                                      7   Otherwise I'll assume for purposes of this deposition
 8    BY MR. DUNN:                                                   8   that the terms that we use will be mutually
 9       Q Good morning, Mr. DeForge. I previously                   9   understandable.
10    introduced myself on the record and I'm here today on         10          Is that okay?
11    behalf of both the City of Beaumont and WR --                 11       A I understand, yes.
12         THE COURT REPORTER: I'm sorry, W-r?                      12       Q We were talking a little bit before the
13         MR. DUNN: W-r-c-g --                                     13   deposition. But now that we're on the record it's
14         THE WITNESS: C-o-g.                                      14   important that we make every opportunity available for
15         MR. DUNN: C-o-g, thank you.                              15   the court reporter to take down everything that is being
16    BY MR. DUNN:                                                  16   said here today. So I'm going to do my very best not to
17       Q When I use, Mr. DeForge the term WRCOG do you            17   interrupt you when you're talking. And if you will
18    understand that to mean Western Riverside Council of          18   allow the same opportunity for legal Counsel.
19    Governments?                                                  19          That way it helps the court reporter. It's
20       A Yes I do.                                                20   very difficult for the court reporter to take down what
21       Q And the term WRCOG is a term that you've heard           21   is being said today if we're talking over each other.
22    before?                                                       22   And that's not that we would do that intentionally. But
23       A That's correct.                                          23   it's just in every day conversation it's very natural
24       Q And that's again referring to Western Riverside          24   for someone to anticipate their answer to a question
25    Council of Governments?                                       25   before the question is fully developed and put on the

                                                                8                                                              9
 1    record.                                                        1      A Probably three years ago.
 2          That's very common. So we sort of have to                2      Q Has the case been resolved or is it over?
 3    change a little bit how we talk and communicate and            3      A Not that I'm aware of.
 4    build in some pauses. I'll try to do that. Counsel             4      Q Was it a deposition for a case that you
 5    here is helpful if I start to talk over you she will let       5   personally were involved with as a party to the lawsuit?
 6    me know not to do that. One of the most important              6      A No, it was not.
 7    things we need to talk about up front is the nature of         7      Q And that same question really for the other
 8    this deposition.                                               8   depositions. Were any of the previous depositions that
 9          Now you have been deposed before; is that                9   you've been involved with, were they part of a lawsuit
10    correct?                                                      10   that you personally were involved with either as a
11       A That's correct.                                          11   plaintiff or a defendant?
12       Q How many times?                                          12      A No, they were not.
13       A Probably three to five times.                            13      Q And are you currently involved personally in
14       Q Okay. And in any of those three to five                  14   any litigation?
15    estimated deposition number that you gave did anything        15      A Not that I'm aware of.
16    have to do with your connection to the City of Beaumont       16      Q And do you have a business entity that you --
17    as a city counsel member?                                     17   you're still working; correct?
18       A No, it did not.                                          18      A Yes. That's correct.
19       Q Was it -- is it fair to say that it was all              19      Q And do you have like a corporation or a sole
20    done outside of the context of your involvement with the      20   proprietorship that's the business that you're involved
21    City? In other words, it was something for personal or        21   with, your personal business?
22    your business?                                                22      A Yes, I have both, a sole proprietorship and a
23       A It was work-related.                                     23   corporation, S corp.
24       Q Work-related. Okay. How long ago was the last            24      Q Are they currently involved in any litigation?
25    deposition?                                                   25      A No, they are not.




                                                                                                    3 (Pages 6 to 9)
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                                                           10                                                              11
 1      Q All right. As you've already figured out we             1   about it, for you to explain that that would be a guess.
 2   have talked about the court reporter is taking down          2   But if you were involved in a conversation recently or
 3   everything that is said today and eventually that will       3   in the past that wouldn't be a guess. We would want
 4   be prepared in a transcript form. It looks like a            4   your best recollection of that conversation or event.
 5   booklet. You'll have an opportunity to review that.          5         Do you understand that?
 6   Couple of points on that, one is that it's important         6       A Yes, I do.
 7   today to give your best testimony.                           7       Q Okay. Good. Is there any reason today why you
 8         Because if you have to make some changes to the        8   could not give your best testimony? Are you under the
 9   testimony that you give here today, so if you make           9   influence of any medication that may affect your ability
10   changes for example to the booklet form or transcript       10   to remember, to communicate?
11   someone could comment on that at a later point in the       11       A No, I'm not.
12   proceedings even at trial. And it could call into           12       Q All right. No alcohol this morning yet?
13   question your credibility.                                  13       A No. No.
14         So you want to give your best testimony here          14       Q Okay. You can take a break any time you want
15   today, is that okay?                                        15   for any reason.
16      A I understand, yes.                                     16       A I understand.
17      Q Now we don't want you to guess or speculate.           17       Q Just let us know. Like I said this morning I
18   But we are entitled to your best estimate. Some of the      18   don't think we'll be here for very long at least with my
19   things that we'll talk about today go back a number of      19   questions. Don't have a lot of documents to go through
20   years. And it may take you a few moments to sort of         20   with you this morning. But I do want to put some
21   think and remember your best recollection of that. We       21   documents into the record I'll do that very quickly up
22   want your best recollection. And you can take all the       22   front.
23   time you need to answer a question.                         23         So the first thing I want to put in as your
24         What we don't want you to do is guess. So if          24   first Exhibit Number 1 is a three-page document. On the
25   you had never seen or heard something and you were asked    25   first page it says, "United States District Court for

                                                           12                                                              13
 1    the Central District of California." It has below that      1   DeForge."
 2    it says, "Subpoena to testify at a deposition in a civil    2   BY MR. DUNN:
 3    action," and we'll make this Exhibit Number 1.              3      Q Mr. DeForge, do you have Exhibit 3 the
 4          Mr. DeForge, just take a moment and look at           4   declaration before you?
 5    this three-page document, if you would please. And my       5      A Yes, I do.
 6    question for you is have you seen this document before      6      Q You can take a moment to review. But my
 7    or a copy of it?                                            7   question is have you seen this before?
 8        A Yes, I have.                                          8      A Yes, I have.
 9        Q And to be marked as next in order which I think       9      Q And Mr. DeForge, that's your signature on the
10    is Exhibit 2 is a three-page document and it's labeled,    10   last page on page five?
11    "Amended notice of taking deposition of Brian DeForge      11      A Yes, it is.
12    pursuant to Federal Rules of Civil Procedure, rule         12      Q Okay. And there's a date there of the 24th --
13    number 30 B1."                                             13   the 24th day of January 2022.
14          And Mr. DeForge, if could you take a moment to       14         Do you see that on the last page?
15    look at this document. I just want to know if you've       15      A Yes, I do.
16    seen this before?                                          16      Q And is that the date on which you signed this
17        A I don't believe I have.                              17   document?
18        Q All right.                                           18      A Yes, it is. Sorry.
19          MS. VANDERWEELE: For the record I don't              19           (Exhibits 1, 2 and 3 were marked for
20    believe this was ever actually served.                     20           identification and attached hereto.)
21          MR. DUNN: Okay. You haven't seen it before           21   BY MR. DUNN:
22    and Counsel you don't think it's been served?              22      Q And I note that it doesn't state where you
23          MS. VANDERWEELE: Correct.                            23   signed the document.
24          MR. DUNN: Okay. To be marked next in order is        24         Where did you sign this? Did you do it at your
25    a five-page document entitled, "Declaration of Brian E.    25   house?




                                                                                             4 (Pages 10 to 13)
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                                                          14                                                              15
 1        A I signed it at my home.                              1      Q Okay. Let's do this -- for exhibit -- I'm
 2        Q Okay.                                                2   going to ask you a fair amount of questions about this
 3        A Yes. Yes, I did.                                     3   Exhibit Number 3.
 4        Q Okay. Then did you -- did you then fax or send       4         You received Exhibit Number 3 from whom? Do
 5    a copy of this document in email to the legal Counsel      5   you remember how you first got this?
 6    for AIG?                                                   6       A From the legal counsel, from legal counsel I
 7        A Yes, I believe I did. It was either faxed or         7   believe for National Union Fire.
 8    scanned.                                                   8      Q Okay. I'm trying to figure out a shorter way
 9        Q Okay. And do you remember to whom you sent           9   to refer to them. Can we call them either AIG counsel
10    that to? Was it Counsel who is present here today?        10   or insurance company counsel?
11        A I believe it was, yes. The only reason I am         11       A That would be fine.
12    hesitant there was another lady I was working with as     12      Q So you first got this document from the
13    well. So I sent it to the Counsel. I signed it,           13   insurance company attorney; correct?
14    scanned and sent it to them.                              14       A That's correct.
15        Q So there were two attorneys with AIG that you       15      Q And before you got this document were there
16    were working with?                                        16   earlier drafts that you reviewed or did you get just one
17        A I believe it was a second attorney or maybe it      17   draft and sign it?
18    was paralegal or someone. I'm not sure.                   18       A We got one draft and we reviewed it together
19        Q Yeah. My question -- I'm sorry if I didn't          19   via Zoom.
20    phrase it properly. By the time that you signed this      20      Q Okay.
21    document you were working with two attorneys with AIG;    21       A Then I signed the draft.
22    is that correct?                                          22      Q Okay. Now I want to take you all the way back
23        A I believe they were both attorneys. I know          23   in time when you first had contact with the insurance
24    Meagan is. I don't know if the other one was her helper   24   company attorney.
25    or something of that sort.                                25         Do you remember when that was?

                                                          16                                                              17
 1        A No, I do not.                                        1   delete those. Would you do that, please?
 2        Q Was it in -- I'm going to see if I'm going to        2       A Yes.
 3    test your memory here by trying to get your best           3       Q Is there a way to print them out those emails
 4    estimate or recollection. This Exhibit Number 3 was        4   from your phone? Can you print out just t hose emails?
 5    signed on January 24th of 2022.                            5       A Yes, I could.
 6           In December were you in contact with the            6       Q Okay. Would you do that and send them to me?
 7    insurance company attorney, December of 2021?              7   I'll give you an address and you can just email them to
 8        A It's very possible, yes.                             8   me?
 9        Q Do you remember how you were first contacted?        9       A Yes.
10        A I believe I was called via cell phone.              10       Q Okay. Great. I'll do that at the end of the
11        Q Who called you?                                     11   deposition. Okay. But the first contact you had was
12        A I do not recall her name. I could look back on      12   over the phone with the insurance company attorney? It
13    my emails. I think the name is on there. But I'm not      13   was a telephone call?
14    sure of her name. I don't believe it was Meagan the       14       A Yes.
15    first time.                                               15       Q And what took place in that conversation? What
16        Q And you mentioned some emails, did you have         16   do you remember?
17    some subsequent email communication with the insurance    17       A There was a basic introduction of who they were
18    company attorneys?                                        18   and why they were calling me.
19        A Just to set up this meeting, yes.                   19       Q What did they tell you in terms of who they are
20        Q Do you have copies of those emails somewhere?       20   or who they were?
21        A I have them on my phone. I don't have them          21       A The initial call I did not answer. Because I
22    on...                                                     22   get so many spam calls. I listened to the voicemail and
23        Q Do you still have them on your phone?               23   I realized it was an attorney and I don't really care to
24        A I believe so.                                       24   talk to attorneys. So then when I got a little more
25        Q I'm going to ask you to hold onto those and not     25   information I think it was a second call I got a little




                                                                                            5 (Pages 14 to 17)
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                                                           18                                                              19
 1    more information. Then I responded back and called to       1      Q Did the voicemail explain that the insurance
 2    them. I couldn't hide. So I went ahead and called and       2   company was in litigation with the city?
 3    found out what it was about.                                3      A No.
 4        Q So the first information you had was in the           4      Q What was your understanding of who the
 5    voicemail that they left on your cell phone?                5   insurance company was upon listening to the voicemail?
 6        A I believe so, yes.                                    6      A Initially I thought it had something to do
 7        Q Do you still have that voicemail?                     7   again with the WRCOG City of Beaumont --
 8        A I don't believe so.                                   8         THE COURT REPORTER: TUMF?
 9        Q Do you remember what the voicemail said?              9         THE WITNESS: T-u-m-f, Traffic Uniform
10        A Again an introductory telling me who they were       10   Mitigation Fee. And so again I didn't want anything to
11    and kind of a little bit of what they were calling         11   do with it. I've been out eight years so I didn't
12    about.                                                     12   respond to it.
13        Q Can you give me more information about that?         13   BY MR. DUNN:
14        A Well they were -- let me know that they were an      14      Q So was the next thing that happened is that you
15    attorney litigating a case and I initially thought it      15   got another phone call from the insurance company
16    was between the City of Beaumont against someone else.     16   attorney?
17    I didn't realize what the case was about. And to be        17      A I got another call from those attorneys, yes.
18    honest I've been out since 2014 from council and I said,   18   Once I listened to the email and I got the second call I
19    "I don't want to have anything to do with it." So          19   answered it and got a little more information on what
20    that's why I didn't answer.                                20   they were calling about. What were they requiring of
21        Q Was your initial understanding from that             21   me, what did they want with me.
22    voicemail that the insurance company attorney said that    22      Q So I just want to keep the sequence of events
23    they were an insurance company for the city?               23   clear. First contact was a voicemail that was left with
24        A I didn't catch that on the first one. I didn't       24   you. The next contact from the insurance company
25    understand what it was about.                              25   attorney was it a phone call or an email?

                                                           20                                                              21
 1        A I believe it was a phone call. And again I            1   sure. I'd have to go back and look in my archives --
 2    might have let it go to voicemail. Then when I listened     2       Q Okay.
 3    to it I called back at that time. I mean very shortly       3       A -- see if there's something there.
 4    after that call came in to get the information. I can       4       Q Second -- second time that your cell phone gets
 5    remember I was at Home Depot in Beaumont during the         5   a call from insurance company attorney do you remember
 6    course of my regular workday. So I walked out, left my      6   if it was -- if it went to voicemail or did you pick it
 7    partner with the salesperson and I called.                  7   up and start talking?
 8        Q I take it it would be rather unusual for you          8       A I believe I picked it up and we started
 9    now that -- it would be unusual for you today to get        9   talking.
10    phone calls on your cell phone from attorneys?             10       Q And I think you said you remembered when that
11        A Yes.                                                 11   happened you were at Home Depot and you had to get out
12        Q Can you think of any other time in the last --       12   the Home Depot checkout line and take the call or?
13    since 2014 where an attorney has called you on your cell   13       A We were in the process of ordering cabinets for
14    phone?                                                     14   a house we were building. So I left my business partner
15        A Yes.                                                 15   with the salesperson then I walked out actually into the
16        Q You can. But not recently I take it?                 16   garden section.
17        A It was the period when I did the last                17       Q And tell me how the phone call started? You
18    deposition.                                                18   pick up the phone and who started talking first after
19        Q Got it.                                              19   you said, "Hello"?
20        A Attorneys for that case.                             20       A I believe it was Counsel who identified
21        Q Let's move forward and I just want to make sure      21   themselves and who they were and again in regards to
22    between the first and second phone calls from the          22   what they were calling about. We had some initial
23    insurance company attorneys was there any -- do you        23   discussion to further clarify what they were calling
24    remember receiving any email?                              24   about and why they were calling me.
25        A I may have received an email. I'm not exactly        25       Q Okay. So let's break it up then into those




                                                                                             6 (Pages 18 to 21)
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                                                           22                                                              23
 1    three parts. How did they introduce themselves when you     1   If I remember correctly I believe it had to do with
 2    were actually talking to them on the phone?                 2   recouping funds if -- I'm not sure how to word this. If
 3       A Introduced herself by her name.                        3   certain events happened, illegal events or something of
 4       Q Was it Counsel who is here this morning?               4   that sort.
 5       A No, it was not. Then again explained to me why         5       Q Again I don't want to put words in your mouth,
 6    they were calling and what it was in regards to.            6   but was your understanding at the time that when you
 7       Q Let me stop you right there. What did they             7   were given this explanation this was a lawsuit between
 8    say?                                                        8   the insurance company and WRCOG?
 9       A They are Counsel representing my understanding         9       A That was my understanding.
10    and I may get this wrong, my understanding was they were   10       Q And was it also your understanding that this
11    representing I thought the City of Beaumont against        11   lawsuit between the insurance company and WRCOG that
12    WRCOG.                                                     12   somehow the insurance company was on the side of the
13       Q And you based that understanding on what was          13   City?
14    told to you?                                               14       A Yes.
15       A Just what was told to me, yeah.                       15       Q That was based on what was told you?
16       Q Okay. So with that understanding that you had,        16       A Yes.
17    which was that they were representing the City in a        17       Q And so you were given an explanation by the
18    matter WRCOG, did you then proceed to talk to them in      18   insurance company attorney about the policy.
19    that conversation?                                         19          Was it more than one policy that was described
20       A Yes, I did.                                           20   to you or was it just a single policy?
21       Q What was -- what was next -- what was the next        21       A Just a single policy.
22    part of that conversation?                                 22       Q Did they tell you what was the dispute that
23       A An explanation regarding I believe an insurance       23   created the lawsuit over the policy? Did you get an
24    policy that the city had taken out. And I'm still not a    24   explanation?
25    100 percent clear on what this insurance policy covers.    25       A No, I did not.


                                                           24                                                              25
 1       Q At that point in the conversation were you             1       Q And did you have in your mind and your
 2    wondering why on earth you're being contacted by the        2   understanding at that time that by engaging in this
 3    insurance company --                                        3   conversation with the insurance company attorney over
 4       A Yes.                                                   4   the phone that you would be helping the city?
 5       Q -- attorney?                                           5          MS. VANDERWEELE: Objection. Leading.
 6       A Yes.                                                   6          THE WITNESS: I was never given that particular
 7       Q Did you ask them that?                                 7   scenario or that this would be helping the city. In my
 8       A Yes.                                                   8   mind, this is my mind, I felt that there was going to be
 9       Q What did they tell you?                                9   the City against WRCOG.
10       A Well having been through a number of                  10   BY MR. DUNN:
11    depositions regardless from the city, regardless from      11       Q That was based on what you were told?
12    the school district I work for, they're always looking     12       A Yes.
13    for someone who has information regarding that would       13       Q Okay. And again just so I'm clear,
14    help their case. And of course being on the city           14   Mr. DeForge, the reason why you moved forward with your
15    council as long as I was on there I had -- you know I      15   participation that led to this declaration was based on
16    was privy to a lot of information that went through        16   that understanding; is that correct?
17    during that period of time that I was on the council.      17          MS. VANDERWEELE: Leading.
18       Q Did you know in that second phone call that you       18          THE WITNESS: Yes. That's correct.
19    did not have to talk to them on the phone, you could       19   BY MR. DUNN:
20    have just hung up; right?                                  20       Q That second conversation how long do you think
21       A No, I didn't realize that.                            21   it lasted on the phone?
22       Q Did you have an understanding in your mind in         22       A Probably 15 minutes.
23    that second conversation that you were being asked to      23       Q That's -- would you agree with me 15 minutes is
24    help the city?                                             24   a -- probably in your experience that's a fairly long
25       A Yes.                                                  25   cell phone conversation; right?




                                                                                             7 (Pages 22 to 25)
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                                                         26                                                             27
 1       A Yes, it was.                                         1   -- I'm going to try and keep this just to the second
 2       Q And we've already talked about how the call          2   telephone conversation that you had. Because I'm
 3    developed. Let's go into as much of that 15 minute        3   assuming there were -- after the second telephone
 4    phone call that you remember. So you formed some          4   conversation there were other communications with the
 5    understandings based on the information that you were     5   attorneys for the insurance company; correct?
 6    initially given.                                          6       A One other, yes.
 7          At some point in that conversation, that            7       Q One other phone call?
 8    telephone call, were you asked questions?                 8       A One other, Zoom.
 9       A Yes.                                                 9       Q Zoom, got it. Again going back to that second
10       Q What questions were you asked?                      10   telephone conversation what other questions did they
11       A My role as a council member. My role as a           11   have for you?
12    mayor. Because they are two separate things. My --       12       A One of the questions was, "Are you aware of," I
13    what sort of duties we did, what sort of things I had    13   wasn't aware of this lawsuit. "ARE you aware of this
14    signed as a mayor.                                       14   lawsuit?" I was not aware of it. Again being out of it
15       Q Were you asked about the type of meetings that      15   for eight years I don't know when this started. So I
16    you were involved with?                                  16   wasn't aware of that. Then again what things did I
17       A No, I was not.                                      17   sign. You know as from the different -- when you're
18       Q Were you asked about events that happened in        18   sitting on city council you're -- especially a small
19    city council meetings?                                   19   city we are under -- we wear a lot of different hats
20       A No, I was not.                                      20   regarding the financial authority, the redevelopment
21       Q Not during that conversation?                       21   committee, some different hats as we're sitting there.
22       A No.                                                 22   We adjourn from council and then go into finance
23       Q Later?                                              23   authority or go into redevelopment committee something
24       A I'm kind of vague on what you're asking me.         24   of that sort. Really more procedural of what we did as
25       Q Sure. I'll rephrase. I'm going to keep this         25   council.

                                                         28                                                             29
 1      Q And that's pretty common for cities; right? At        1   their TUMF program, traffic uniform mitigation fee. How
 2   least in your understanding.                               2   I was not for that from the very beginning. How I spoke
 3      A At least smaller cities from my understanding.        3   with two separate supervisors and some of their
 4      Q Big cities too.                                       4   personnel who were going to be running that for WRCOG
 5      A Yes.                                                  5   and some of the answers that they gave us in regards to
 6      Q Yeah, big ones too. In that phone conversation        6   my questions and my concerns. So that is the historic
 7   you were asked some questions.                             7   knowledge that I gave them.
 8         Were there any questions that you didn't know        8       Q Did that second telephone conversation that
 9   how to respond to?                                         9   we've now been discussing generally focus on your
10      A Not that I'm aware of.                               10   involvement, your personal involvement through the city
11      Q Were you able to answer all their questions?         11   with WRCOG?
12      A I would not say that I 100 percent answered all      12       A I would say the telephone conversation that
13   their questions.                                          13   we're speaking of generally centered on historic
14      Q What did -- okay. Aside from answering               14   knowledge that I had and for better word getting
15   questions that they had for you were there some -- was    15   familiar with me and what role I may have played in
16   there one or more items that you wanted to share with     16   these different...
17   them? Did you give them any information other than what   17       Q Who brought up WRCOG? Did you bring it up
18   you were asked for?                                       18   first or did the insurance company attorney?
19      A I gave them historic information regarding           19       A I believe it was first brought up by the
20   myself.                                                   20   insurance company when they explained what they were
21      Q Tell me what you told them about the historic        21   calling about.
22   information about yourself?                               22       Q Okay. As part of that explanation again they
23      A Well in regards to WRCOG and the city council        23   were talking about WRCOG?
24   of Beaumont and my role as a city councilman slash        24       A That was my understanding, yes.
25   mayor. What I felt about WRCOG and what I felt about      25       Q Was it your understanding that they were




                                                                                          8 (Pages 26 to 29)
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                                                           30                                                             31
 1    talking about the TUMF dispute with WRCOG?                  1   call; correct?
 2        A That was my understanding, yes.                       2      A That's correct.
 3        Q Okay.                                                 3      Q Is it fair to say that the phone call focused
 4        A Let me clarify that.                                  4   on the TUMF WRCOG?
 5        Q Sure.                                                 5      A My portion of the phone call focused on the
 6        A No, that was not -- initially that's not what I       6   TUMF. I was never led into -- I offered my information
 7    was understanding. My understanding was that WRCOG was      7   on the TUMF.
 8    trying to sue the insurance carrier that the city           8      Q And the information you offered I think you
 9    carried to recoup funds from the City versus WRCOG          9   generally described earlier you had some conversations
10    lawsuit in regarding the TUMF.                             10   in the past with people associated with WRCOG. You had
11        Q Was there -- was there any explanation about         11   some disagreements with WRCOG over the TUMF while you
12    the lawsuit that it had to do with things other than the   12   were on the council, is that fair to say?
13    TUMF?                                                      13      A Yes.
14        A No. No. Let me clarify that.                         14      Q And you shared that with the insurance company
15        Q Sure.                                                15   attorney?
16        A My understanding was that it had to do with          16      A Yes.
17    illegalities from the key department people, contract      17      Q Did you have -- did you have any question in
18    hired by the city.                                         18   your mind or was it explained to you during that
19        Q Did you talk about those illegalities with the       19   conversation why WRCOG would be pursuing insurance
20    insurance company attorney during that second phone call   20   policies that were issued to the city?
21    or did that not come up?                                   21      A Did I have any question about that?
22        A Not specific charges against them or any of          22      Q Yes.
23    that sort of thing.                                        23      A I would say yes.
24        Q So that was something you had in the back of         24      Q Was that explained to you during that second
25    your mind that was separate and independent of the phone   25   phone call?


                                                           32                                                             33
 1       A No.                                                    1   second phone call you had with the insurance company
 2       Q Was it ever explained to you?                          2   attorney.
 3       A You know I would -- I would say that it was            3        There was in questions and answers, yes?
 4    explained to me and even perhaps in that first phone        4      A Yes.
 5    call. My understanding again was WRCOG was trying to        5      Q Lasted about 15 minutes in your estimate?
 6    recoup funds that they believe were owed to them through    6      A Correct.
 7    that TUMF program.                                          7      Q Were -- by the end of that phone call did you
 8       Q Mr. DeForge, did you know at the time that you         8   know that there was going to be further communication
 9    were -- this goes now back to the first voicemail from      9   between you and the insurance company attorney?
10    the insurance company attorney.                            10      A Yes, I did.
11          At that time did you know that WRCOG and the         11      Q How did you have that understanding?
12    city had settled their TUMF litigation? Did you know       12      A I was told that they would want to do a
13    there was a settlement?                                    13   declaration and that we would do it via Zoom call.
14       A Yes, I did.                                           14      Q Okay. Were you told by the insurance company
15       Q Did you ever see a copy of that settlement            15   attorney that if you did a declaration that you would
16    agreement or the terms of it?                              16   not have to do a deposition?
17       A No, I did not.                                        17      A A deposition for who?
18       Q Have you ever seen it at any time?                    18      Q Like the deposition we're in right now, any
19       A All I saw was what I read in the local paper          19   deposition?
20    that they had settled. I never saw the actual terms of     20      A I was told that the declaration would keep me
21    that.                                                      21   from doing a deposition through them.
22       Q Okay. Now going back to the second -- I'm             22      Q Were they specific in telling you that a
23    sorry we're hopping around a little bit I apologize for    23   declaration would keep you from having to do a
24    that. But I want to try and keep this in order, you        24   deposition through them and not anybody else? What were
25    know, as the communications developed. Back to the         25   you told?




                                                                                            9 (Pages 30 to 33)
     Case 5:20-cv-02164-GW-KK Document 53-6 Filed 07/05/22 Page 11 of 52 Page ID #:2074
                                                           34                                                              35
 1        A I would -- I was understanding that I would do        1       A I thought the other side was WRCOG.
 2    a declaration through them. However, knowing that if I      2       Q Just WRCOG?
 3    did this declaration, which would become -- what is the     3       A Yes.
 4    word? Discoverable. That at some point in time the          4       Q So after you had this first voicemail from the
 5    other side would come knocking at the door wanting a        5   insurance company attorney and this conversation with
 6    deposition.                                                 6   the insurance company attorney over the cell phone in
 7        Q Did they tell you that the City of Beaumont           7   the Home Depot, did you think to contact the City of
 8    would come knocking at the door looking for a deposition    8   Beaumont in any way to notify them that you had been
 9    if you did a declaration?                                   9   contacted by the insurance company attorneys?
10        A No, they did not.                                    10       A No, I did not.
11        Q Did they tell that you WRCOG might?                  11       Q Do you know why -- why not?
12        A No, they didn't tell me.                             12       A When I left the City of Beaumont as a
13        Q Did you have an understanding in your mind that      13   councilman I left the City of Beaumont. I try not to
14    if you were to give a declaration that you would not be    14   have anything to do with anything down at the city hall.
15    deposed by the city?                                       15   I stayed fairly clear of there.
16        A No, I did not.                                       16       Q If you had the understanding at the time that
17        Q Did you think that you could be deposed by the       17   you -- of the second telephone conversation that you're
18    city? I'm not talking WRCOG. I'm talking the City of       18   communication with the city -- excuse me with the
19    Beaumont?                                                  19   insurance company attorneys would lead to city
20        A I figured that when I did the declaration that       20   involvement in this -- in this lawsuit would you have
21    would start some sort of wheels turning to where that I    21   contacted the city in some fashion?
22    would start getting calls or mails or subpoenas to come    22       A No.
23    and talk to the other side.                                23       Q At any time -- or strike that. After the
24        Q Yeah. Did you think that the other side was          24   second phone call with the insurance company attorney,
25    the City of Beaumont or just WRCOG?                        25   just want to make sure I understand for the record, did

                                                           36                                                              37
 1    you talk to anybody associated with the City of Beaumont    1   next communication with the insurance company attorney?
 2    about that conversations?                                   2       A That we would set up a Zoom call and produce
 3       A No, I did not.                                         3   this declaration.
 4       Q Did you talk to any former council members?            4      Q Okay. How long after the second telephone call
 5       A No, I did not.                                         5   was it before you had that Zoom?
 6       Q Other than your spouse perhaps did you talk to         6       A I would say it was in January of 2022,
 7    anyone else about the phone call?                           7   somewhere in the mid portion of that.
 8       A My business partner.                                   8      Q And I take it that you received the
 9       Q Who is your business partner?                          9   instructions for the Zoom call via email, is that how
10       A Adrian Chetney.                                       10   you got it?
11       Q And does Adrian Chetney have any involvement          11       A That is correct.
12    currently with the City of Beaumont in any kind of a       12      Q Okay. And was that the first email that you
13    role or a position?                                        13   received from the insurance company or had there been
14       A No, he does not.                                      14   earlier emails?
15       Q In the past?                                          15       A I believe that was the first one.
16       A No, he did not.                                       16      Q In that second conversation were you asked to
17       Q So mostly reaching out to him as a business           17   look or provide any documents to the insurance company
18    partner and friend?                                        18   attorney?
19       A As I left him sitting there with the                  19       A I may have been. But I -- I do not have any
20    salesperson I had to give him an excuse where I went.      20   documents.
21          MS. VANDERWEELE: Fair enough.                        21      Q Have you ever provided any documents to them?
22          MR. DUNN: I understand. Yeah, fair enough.           22       A No, I have not.
23    BY MR. DUNN:                                               23      Q I mean other than this declaration?
24       Q Before that second telephone conversation ended       24       A Yeah, other than this declaration.
25    what was understood in your mind as to what would be the   25      Q Fair enough. Okay. Did you look for documents




                                                                                           10 (Pages 34 to 37)
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                                                           38                                                              39
 1    or you just knew that you didn't have any?                  1   discussed on the Zoom?
 2        A Any documents that I have had have long been          2       A Yes, I did.
 3    gone. The only documents that I ever saved were certain     3       Q Tell me what your understanding or memory was?
 4    things that I personally wanted to keep for history like    4       A We would discuss the operations of what went on
 5    getting a park named after my dad, just historic things     5   in regards to, you know, looking back at this
 6    in that respect. Not so much things in regard to            6   declaration, the rolls of the different contracted city
 7    operations of the City.                                     7   employees regarding the Urban Logic people as well as
 8        Q In between the second conversation over the           8   Allan --
 9    cell phone and Zoom was there any other telephone           9         THE COURT REPORTER: I'm sorry, Urban Logic
10    conversations you had with the insurance company           10   people and?
11    attorney?                                                  11         THE WITNESS: Urban Logic people and Allan --
12        A No, there was not.                                   12         THE COURT REPORTER: Last name spelled?
13        Q There were some emails, yes?                         13         MR. DUNN: I can do it for her.
14        A I believe the email that I was sent to set up        14         THE WITNESS: Okay. Go ahead.
15    the Zoom call.                                             15         MR. DUNN: K-a-p-a-n-i-c-a-s.
16        Q Did the email have attached to it any document       16         THE COURT REPORTER: Let me double check that
17    for you to review or anything to look at?                  17   K-a-p-a-n-i-c-a-s, Allan Kapanicas.
18        A Are you speaking of prior to Zoom call?              18         THE WITNESS: Kapanicas, and his firm was GGMS.
19        Q Yes. Thank you.                                      19   BY MR. DUNN:
20        A No. No.                                              20       Q So when you did the Zoom call were you at home?
21        Q And prior to the Zoom call were you given any        21       A Yes, I was.
22    document to look at to prepare for the Zoom call?          22       Q And I think your best estimate is that was in
23        A No, I was not.                                       23   January of this year; correct?
24        Q Were you told what the Zoom call would -- prior      24       A I believe so, yes.
25    to the Zoom call did you know what was going to be         25       Q How long did that Zoom call last?

                                                           40                                                              41
 1       A Probably 45 minutes to an hour.                        1       A No -- I believe, no.
 2       Q And at your home were you by yourself in the           2       Q Could you tell if they were looking at any
 3    room?                                                       3   documents?
 4       A Yes, I was.                                            4       A I don't believe they were.
 5       Q Who was on the other end of the Zoom?                  5       Q Okay. Did the conversation on the Zoom start
 6       A Meagan and the other lady who I cannot remember        6   with sort of your, you know, your introduction to the
 7    her name.                                                   7   City of Beaumont, how you first got involved with the
 8       Q But the same person who was on the previous            8   City? Trying to figure out how the conversation
 9    cell phone calls?                                           9   developed?
10       A Yes.                                                  10       A Well again they identified why they were
11       Q So just two of them?                                  11   calling, what we are doing in regards to this lawsuit.
12       A Yes.                                                  12   And then I verified who I was and why, you know, my role
13       Q And I want to break down that call or that Zoom       13   in the city as a councilman, mayor and then the
14    call. How did it start? What is your first                 14   different hats I wore under the different committees
15    recollection of it?                                        15   that we had as a council and then we went into what we
16       A Of course we zoomed in and Meagan introduced          16   have on the declaration here.
17    herself to me who she was and her relationship to the      17       Q Okay. At some point after the Zoom call you
18    case. And then the other lady, which is really             18   were given a declaration to sign; correct?
19    bothering me that I can't remember her name, just again    19       A That's correct.
20    kind of refresh what we were going to be going over and    20       Q Were you given only one draft? Was there only
21    then we went over the questions we had concerning what     21   one version that you were given?
22    we put in the declaration.                                 22       A Yes.
23       Q Okay. Did they have a document like this              23       Q And before you signed it you reviewed it?
24    already on the screen to show you or did they show you     24       A That's correct.
25    any documents during the Zoom call like this one?          25       Q Didn't make any changes to it?




                                                                                           11 (Pages 38 to 41)
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                                                           42                                                              43
 1        A I think there was a minor change or something         1      Q Were you asked about any meetings that you
 2    in regards to something that I felt needed to be            2   attended at the city counsel? Any city council meetings
 3    changed. To be honest with you I can't remember what        3   that you attended? Were you asking about anything?
 4    that was at the moment.                                     4      A Not specifically, no. It was more asked about
 5        Q Okay. We'll go through it?                            5   procedures that we did as a council in regards to again
 6        A It was a very minor thing.                            6   the financing authority or the redevelopment agency, the
 7        Q But the point is you didn't write this document       7   different operations as a council that we did.
 8    this was written by the insurance company attorney;         8      Q And as part of that explanation did you tell
 9    correct?                                                    9   the insurance company attorneys that, you know, that you
10        A Yes.                                                 10   met together as a council to do business for the city as
11        Q And again you're understanding about the             11   opposed to you doing it individually?
12    involvement of the insurance company in the WRCOG, did     12         MS. VANDERWEELE: Form. Vague.
13    that change after the Zoom call or was it still your       13   BY MR. DUNN:
14    understanding what you talked about earlier? You           14      Q Go ahead?
15    thought this was a dispute between WRCOG and the           15      A I believe that's a little confusing. When we
16    insurance company?                                         16   met as a council we're all in there unless someone was
17          MS. VANDERWEELE: Leading.                            17   absent.
18          THE WITNESS: I felt it was -- initially saying       18      Q Right.
19    is what I spoke of.                                        19      A So there was no conversation in regards to
20    BY MR. DUNN:                                               20   meeting separately with any members of the city
21        Q Is that your understanding today too?                21   services.
22        A Yes.                                                 22      Q That's what I'm looking for.
23        Q Okay. All right. During the Zoom call were           23      A Okay.
24    you asked about city council meetings?                     24      Q Thank you. That was very helpful, thank you.
25        A Again I think that's kind of vague.                  25   So the information that you've provided was based on


                                                           44                                                              45
 1    your involvement in city council meetings; correct?         1      Q Were you explained or told not to share closed
 2       A That's correct.                                        2   session information?
 3       Q All right. Was that true for the full panoply          3      A No, I was not. I'm aware of that having been a
 4    of city council meetings? Sometimes you were wearing        4   councilman.
 5    your different hat as it were for the Beaumont Financing    5      Q Good. Okay. Let's do this, let's -- let's I
 6    Authority, sometimes for the redevelopment agency,          6   think the easiest thing now to do is -- do you want to
 7    sometimes for the city itself?                              7   take a break?
 8       A Yes, and those were all taking place in the            8      A I'm all right.
 9    total umbrella of a city council meeting again.             9         MS. VANDERWEELE: I'm fine.
10       Q Yeah. And sometimes it was fairly common for          10         MR. DUNN: Let's keep going.
11    the city council to go into a closed session as well,      11   BY MR. DUNN:
12    that's part of your meetings; correct?                     12      Q Let's go into this Exhibit Number 3. I just
13       A That's correct.                                       13   want to take you through it then I think we'll be done
14       Q And that's some of the information that you           14   here today. We're going to go through it in detail.
15    shared with the attorneys?                                 15         Exhibit Number 3 is your declaration?
16          MS. VANDERWEELE: Objection to form.                  16      A That's correct. Yes.
17          THE WITNESS: No.                                     17      Q Okay. Perfect. So if you could put that in
18    BY MR. DUNN:                                               18   front of you?
19       Q Did you share any closed session information          19      A No, I have it. I'm sorry.
20    with them?                                                 20      Q Whichever one works for you. That's great.
21       A No.                                                   21   Just to make sure up in the upper left-hand corner you
22       Q Why not?                                              22   see where it says, "Scott L. Schmookler"? Do you see
23       A Because I can't do that.                              23   that?
24       Q Were you asked to?                                    24      A Yes, I do.
25       A No, I was not.                                        25      Q Okay. Ever speak with Mr. Schmookler?




                                                                                           12 (Pages 42 to 45)
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                                                           46                                                              47
 1       A No, I have not.                                        1      Q Okay. Now it says in that first sentence in
 2       Q Okay. In your experience had you ever signed a         2   paragraph two that you were on the Beaumont City Council
 3    declaration for a legal matter before?                      3   from 1999 to 2014.
 4       A Not that I'm aware of.                                 4         Do you see that?
 5       Q First time you had signed a declaration?               5      A Yes, I do.
 6       A That's correct.                                        6      Q Okay. Can you be more precise as to when you
 7       Q Okay. Given deposition testimony but not a             7   were on the city council like what months and you
 8    declaration; correct?                                       8   started in 1999?
 9       A That is correct.                                       9      A I started July 27th.
10       Q Was it ever explained to you by the insurance         10      Q Okay.
11    company attorneys that signing a declaration under         11      A 1999, my middle daughter's birthday. Then I
12    penalty of perjury is like giving testimony in a court?    12   stepped off or actually was escorted off, I don't know
13       A Yes.                                                  13   the best way to put it. I got beat in re-election. So
14       Q Okay. All right. Let's go to paragraph number         14   my last time on the council was December of 2014.
15    one on the first page.                                     15      Q I see. End of the calendar year?
16          Do you see that?                                     16      A Yeah, the end of the calendar year. That's
17       A Yes, I do.                                            17   correct.
18       Q And you had read that paragraph before;               18      Q Got it. When you first joined the Beaumont
19    correct?                                                   19   City Council did you run for office or were you
20       A Yes.                                                  20   appointed?
21       Q Okay. Let's go to the second paragraph. It            21      A I was appointed.
22    says -- begins, "I'm a resident of the city of             22      Q Then how quickly did you have to run for the
23    Beaumont."                                                 23   city council seat?
24          Do you see that?                                     24      A Oh, gosh. You make me do math.
25       A Yes, I do.                                            25      Q Just your best estimate?

                                                           48                                                              49
 1        A I believe it was 2000, perhaps 2002. It was           1   reads a little funny on there.
 2    2000 or 2002. Just trying to do the four-year thing         2      Q Yeah, it does.
 3    here.                                                       3      A But I believe when you go forward into the
 4        Q Fair to say until that next municipal election        4   other paragraphs it's just reiterating that I had the
 5    cycle?                                                      5   knowledge of those previous paragraphs.
 6        A That's correct, yeah.                                 6      Q What -- what I want to say just focusing on
 7        Q Who appointed you?                                    7   paragraph two that's not entirely accurate is it the
 8        A I was appointed by the city council.                  8   second sentence? Because you're knowledge of events
 9        Q Okay. Who was mayor at that time?                     9   prior to 2011 goes back to the time when you were first
10        A Jan Lesia.                                           10   appointed to the city council?
11        Q Mr. DeForge, in that same paragraph number two       11      A That would be correct, yes.
12    the second sentence says, "Based upon my tenure on the     12      Q But that doesn't say that here, does it?
13    Beaumont City Council, I had knowledge of and was aware    13      A Not that I'm reading, no.
14    prior to 2011 that the following facts set forth in        14      Q Let's go to the next paragraph, "The City of
15    paragraph three through paragraph 15."                     15   Beaumont," it begins -- this is paragraph number three.
16          Do you see that?                                     16   "The City of Beaumont did not maintain a separate risk
17        A Yes, I do.                                           17   management or insurance department."
18        Q I just want to get your understanding. Is it         18         Do you see that?
19    your understanding that you had knowledge prior to 2011    19      A Yes, I do.
20    by virtue of being on the city council of the City of      20      Q What was you understanding? What did you mean
21    Beaumont? In other words your knowledge prior to 2011      21   by, "Separate risk management"?
22    starts with your appointment to the city council in 2000   22      A My understanding was that it was really more of
23    -- excuse me, in 1999. Do you see that? I apologize if     23   a policy or an in-house department of safety risk
24    I'm being vague. Does that make sense?                     24   management or insurance department. In school
25        A It reads -- I understand where you're at. It         25   districts, for example, we have a safety risk manager.




                                                                                           13 (Pages 46 to 49)
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                                                           50                                                              51
 1    We have a person who runs an insurance coordinator. The     1   policies?
 2    City of Beaumont at that time did not have it.              2       A No, I did not.
 3       Q Was it your understanding that there was an            3       Q Do you remember anything about them?
 4    outside person who was handling risk management for the     4       A I know that we are given initially we were
 5    city?                                                       5   going to have this policy or that policy in regards to
 6       A That was my understanding it was an outside            6   and then they would go over it slightly or give us the
 7    company who handling that for the city.                     7   summary of what we were going to be having. We would
 8       Q Not an employee?                                       8   bring that up and vote in open session whether or not we
 9       A Not an employee, a company.                            9   would want that.
10       Q And then the next sentence, "The city council         10       Q Okay. How about the next sentence it says --
11    had final authority over the city's insurance." What       11   this is now at the top of page two, we're still in
12    did you understand by that? What does, "Final authority    12   paragraph three. Quote, "The city council would
13    over the city's insurance," mean?                          13   consider whether to pursue an insurance claim in private
14       A If staff came to a city manager per se and            14   session and upon reaching a conclusion announce the
15    decided that we wanted to pursue an insurance,             15   decision in public session."
16    everything like that would come to the council first.      16         I take it that's not your language? That was
17    All of the information would be given, staff report and    17   given to you by the insurance attorneys; correct?
18    the council would have the authority to approve or         18       A I believe that's probably 50-50. And speaking
19    disapprove insurance company. Example, we entered into     19   of this my understanding is this is citizens who bring
20    a JPA with other cities and that was brought to the        20   claim against the city. We always have that listed on
21    council for approval prior to us joining the JPA.          21   the agenda items. Joe Smith versus City of Beaumont
22       Q And Mr. DeForge your knowledge or understanding       22   closed session item. And with attorney present, city
23    regarding the insurance policy or policies at issue in     23   manager we would discuss those and whether or not we
24    this litigation, in that time period when you were on      24   would pay it out or refuse to pay and go to litigation
25    the city council did you know anything about these         25   and that sort of thing. That's my understanding of


                                                           52                                                              53
 1    that.                                                       1      Q Okay. And this was discussed during the
 2        Q So from time to time like every city in               2   previous Zoom call? This paragraph three the topics
 3    California perhaps you would get what are called written    3   that are indicated there were they discussed in the Zoom
 4    claims?                                                     4   call or did you see this for the first time in the
 5        A Yes.                                                  5   declaration that was presented for you to sign?
 6        Q So when I say, "Written claim," you know what         6      A No, I believe it was in the Zoom call. That's
 7    I'm referring to?                                           7   why we have it on there. There were certain questions
 8        A Yes, I do.                                            8   that led to the summary that we got out of it.
 9        Q Some of the written claims that your city             9      Q Again focusing your attention on paragraph
10    received during the time that you were on the council      10   number three, during the Zoom call were you asked any
11    they would not be deemed to be covered by insurance;       11   questions about how the City handled this -- any claim
12    correct? Some claims are, some claims aren't. Fair         12   involving these insurance policies?
13    enough?                                                    13      A Not insurance policies, no.
14        A That's correct. Yeah, that's fair.                   14      Q Were you asked -- what type of claims were you
15        Q So not every claim, written claim that comes to      15   asked about?
16    the city council is covered by insurance, that's           16      A Just the closed session, most of these again
17    according to your understanding?                           17   come from a person trips over a sidewalk, person hits a
18        A That is correct.                                     18   pothole front end gets hurt, that was my understanding
19        Q When you were given this paragraph number three      19   what we were discussing.
20    to first review, I take it after the Zoom call, did you    20      Q Okay. Let's move to number four, paragraph
21    wonder why you're being asked to sign something about      21   number four on this Exhibit 3. The sentence says -- it
22    what is in paragraph number three? Did you have a          22   begins, "City of Beaumont contract with Urban Logic
23    question in your mind, "Why am I signing a statement       23   consultants," then goes on from there.
24    that talks about this"?                                    24         Did you personally know these individuals,
25        A No, I didn't.                                        25   Ernest Eger or Ernie Eger, Dave Dillon, David Dillon, D.




                                                                                           14 (Pages 50 to 53)
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                                                           54                                                              55
 1    Pac Marjani, did you know these gentlemen?                  1   paragraph number six was known and true to you;
 2        A Yes, I did.                                           2   corrected?
 3       Q And you know them just in terms of your                3       A That is correct.
 4    involvement as a member of the city council; correct?       4       Q Okay. Number seven, if could you take a look
 5        A Yes.                                                  5   at that paragraph, please? If you could focus just when
 6       Q And take a look at paragraph five of Exhibit 3         6   you get there just on the last sentence of that
 7    that begins, "Mr. Dillon served as the City of              7   paragraph.
 8    Beaumont's economic development," and then goes on from     8       A Yes.
 9    there. Just take a moment if you could review that          9       Q Okay. I take it that when you were first given
10    paragraph.                                                 10   this declaration to review and then ultimately to sign
11        A Uh-huh.                                              11   it was no surprise to you that Mr. Eger, Mr. Dillon,
12       Q I take it that what is in paragraph number five       12   Mr. Marjani were getting financial benefits from ULC's
13    regarding Mr. Dillon, Mr. Eger -- strike that. Yes.        13   contracts with the City of Beaumont; correct?
14    Regarding Mr. Dillon, Mr. Marjani and Mr. Eger what is     14       A Correct.
15    indicated in here was something that was known to you at   15       Q That's how they got compensated; correct?
16    the time that you were on the city council; correct?       16       A Correct. Yes.
17        A Yes.                                                 17       Q They did work for the city and that's how they
18       Q Number six, the paragraph number six do you see       18   got paid for it?
19    that?                                                      19       A Yes, contract work.
20        A Yes, I do.                                           20       Q Contract work. Thank you. Number eight,
21       Q If you would take a moment to review that short       21   paragraph number eight for what time period were you
22    paragraph. I have just a short question or maybe two.      22   mayor?
23        A Okay.                                                23       A I served mayor three separate times.
24       Q Based on your time and experience as a member         24       Q One year period -- one year each time or?
25    of the Beaumont city council what is indicated in          25       A The way the council is set up we could be mayor

                                                           56                                                              57
 1    for one year and then you could have a second year if       1   about.
 2    the council -- council voted on the mayor and mayor pro     2          Would you agree with me, Mr. DeForge, that
 3    tem. So you could have two years straight then you had      3   municipal financing documents could be fairly complex?
 4    to step off the council for at least a year -- step off     4       A Yes.
 5    from being mayor or being mayor pro tem.                    5       Q And so what I wanted to do is give you an
 6        Q So you were a popular person on that council to       6   opportunity to explain sort of your knowledge of these
 7    be mayor that many times during your tenure?                7   -- it says, "Knowledge of these bonds and reviewed
 8        A Either that or I was good a target, whatever.         8   official statements."
 9        Q Fair enough. We talked about what I called            9          Would you -- is that something that you would
10    different hats, wearing different hats as a member of      10   normally do is review the official statements for all
11    the city council. Sometimes you're meeting in your         11   these bonds? Or -- the reason I ask is I read them and
12    official capacity as a city council for the City of        12   I just, you know, it's like Greek to me.
13    Beaumont, other times as the governing body for the        13          MS. VANDERWEELE: I'm sorry what was the
14    Beaumont financing authority; correct?                     14   question?
15        A That's correct. Yes.                                 15   BY MR. DUNN:
16        Q Now if you could take a look at the last             16       Q Do you understand these documents when you read
17    sentence of paragraph eight or the last actually clause.   17   them?
18    The sentence is really the second sentence it says,        18       A I understand them enough to be dangerous.
19    "While I served as chair person on the Beaumont            19       Q Okay.
20    financing authority, Beaumont financing authority          20       A That's being glib.
21    issued," I'm sorry it's the second sentence, "Issued a     21       Q I understand.
22    series of revenue bonds. As chair person on the            22       A But the truth is having served on there for as
23    Beaumont financing authority I had knowledge of these      23   many years as I have at first they're an excellent way
24    bonds and reviewed official statements associated with     24   to fall asleep at night. But then as you start going
25    these bonds." It's the later part I want to ask you        25   through, and again as Beaumont was developing and we got




                                                                                           15 (Pages 54 to 57)
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                                                          58                                                             59
 1    more and more of these, we would get documents for our     1   involved with municipal finances and disclosures; is
 2    council meeting and financial authority, but you don't     2   that correct?
 3    read each individual line. You learn not to read.          3       A That is correct.
 4          You look at the key areas of where it is. How        4       Q And the city had those?
 5    much is this bond for? Which improvement area? How         5       A They had them through the finance -- the bond
 6    long will they pay for that? What is the amount of this    6   companies.
 7    bond? And we understood that these bonds were allowing     7       Q Got it. Okay. Sometimes your city staff -- my
 8    us to bring in infrastructure and things ahead of the      8   understanding is Mr. Kapanicas was fairly knowledgeable
 9    homes coming in.                                           9   in the municipal finance area?
10          So that homeowners coming in he's got to park       10       A That is correct.
11    there not waiting for the 100th house to be built on a    11       Q Yeah. So is it fair to say as a council you
12    99 -- 100 house tract and then stop at 99 and the park    12   would rely on your advisors and consultants and Mr.
13    never gets there. This allowed the city to build ahead    13   Kapanicas to successfully get you through these
14    of time and get the infrastructure and different things   14   offerings?
15    in before the people moved into the homes.                15          MS. VANDERWEELE: Form. Leading.
16        Q Yeah. Would you agree with me for those             16          THE WITNESS: I would say as a city council we
17    municipal financing there are a team of advisors that     17   hire staff that we can trust to do that for us. And
18    the city would have or did have to walk you through or    18   then we take their reports, we read through those
19    if not walk you through to complete the municipal         19   reports and we have questions we asked to get those
20    finance process?                                          20   clarifications. Their job is to put them together. Our
21        A That is correct.                                    21   job is to read them, understand them, question what we
22        Q Yeah. And a fairly sophisticated legal team;        22   don't know and then approve or disapprove.
23    correct and financing team?                               23       Q Yeah. Was it your understanding at the time
24        A Yes.                                                24   that an important part of that process is for there to
25        Q In fact lawyers in all sorts of capacities          25   be disclosure to the city council about the relevant


                                                          60                                                             61
 1    aspects of these finances. In other words you need to      1   leading.
 2    be informed by your team of advisors what is at stake      2         MR. DUNN: Thank you.
 3    here?                                                      3   BY MR. DUNN:
 4          MS. VANDERWEELE: Leading.                            4      Q Let's look at paragraph number nine. If you
 5          THE WITNESS: I think that your question or           5   could take just a moment and review that, please.
 6    your comment to me is somewhat correct. But we as a        6         Do you see in paragraph nine right at the
 7    council have to take the lead on that. We take the         7   beginning it talks about ULC principals. Do you see
 8    information that's given to us and we get that             8   that?
 9    information with the best knowledge available. Then we     9      A Yes, I do.
10    have to make our decision on that. So it's a -- whether   10      Q Those are defined -- that's a defined or
11    you want to call it a symbiotic relationship or           11   defined term, those are defined terms. Was it your
12    something we have to have trust, both of us have to do    12   understanding that principals of ULC were Mr. Eger and
13    our work.                                                 13   Mr. Dillon and Mr. Marjani?
14    BY MR. DUNN:                                              14      A That's correct.
15       Q Thank you for clarifying that. I guess where         15      Q Okay. And they all participated in the making
16    I'm really going with that is in order for you to make    16   of revenue bond?
17    those informed decisions you need to get the              17      A Yes.
18    information?                                              18      Q Mr. Marjani too?
19       A That is correct.                                     19      A Yes.
20       Q And much -- perhaps if not all of that               20      Q I just want to make sure that this is true of
21    information that gets presented to you is going to come   21   your own knowledge and understanding, Mr. DeForge
22    through the team of advisors and consultants that the     22   paragraph nine. I mean you did know that the ULC
23    city has?                                                 23   principals were acting in their official capacity for
24       A Yes.                                                 24   the city when they worked with bond counsel and
25          MS. VANDERWEELE: Form. Leading. They're all         25   financial analysts in preparation of the bonds?




                                                                                          16 (Pages 58 to 61)
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                                                           62                                                              63
 1       A Yes.                                                   1   interest in the city?
 2       Q That was your understanding at the time?               2       A No, they did not.
 3       A Yes.                                                   3       Q Is that a surprise to hear that from me today?
 4       Q The rest of that paragraph or that paragraph is        4       A Somewhat. But I shouldn't say it seems like a
 5    accurate in your mind? And take your time.                  5   surprise. But it isn't. Because I've heard it now for
 6       A That's correct. Yes.                                   6   over eight years. So...
 7       Q Take a look if you would and review paragraph          7       Q We'll come back to that. Okay. Take a look at
 8    ten for me.                                                 8   paragraph number 11 and just review that briefly or take
 9       A Okay.                                                  9   your time on it.
10       Q When you are given this declaration to sign and       10         And paragraph 11 reflects your, you know,
11    you first read this paragraph ten, did you have any        11   understanding at the time that you were on the council.
12    question in your mind why you were being asked to sign a   12       A That's correct.
13    declaration that talked about Misters Dillon, Eger and     13       Q Okay. 12, let's take a look at paragraph 12.
14    Marjani getting -- you know receiving a financial          14   Excuse me. Was this something that you had knowledge of
15    benefit in excess of $25,000? Do you know why you were     15   at the time -- what's indicated here in paragraph 12 did
16    being asked to sign a statement to this effect?            16   you know about that at the time that you were on the
17       A No, I didn't. I just assumed maybe incorrectly        17   council or was this something that you knew after you
18    or correctly that this was all in regards to how the       18   were on the council?
19    bonds were developed and made. And then once they were     19       A No, we knew that. Mr. Kapanicas was very open
20    authorized that they -- the principals of ULC did          20   on how things went.
21    receive funds from those bonds.                            21       Q Take a look now at paragraph 13. Because it
22       Q At any time when you were communicating, any          22   sort of changes. Here we get now reference to a member
23    time you were communicating with the insurance company's   23   of the public Judy, Judith --
24    attorneys did they tell you that they were trying to       24         THE COURT REPORTER: Last name again? Bingham?
25    show Mr. Dillon, Mr. Eger, Mr. Marjani had conflicts of    25         MR. DUNN: Uh-huh, B-i-n-g-h-a-m.


                                                           64                                                              65
 1    BY MR. DUNN:                                                1   question and use of the term gadfly.
 2        Q And let me know when you're finished reviewing        2   BY MR. DUNN:
 3    paragraph 13.                                               3       Q In fact Ms. Bingham would often appear at city
 4        A Okay.                                                 4   council meetings; correct?
 5        Q Are you familiar with the term gadfly?                5       A That's right.
 6        A Yes.                                                  6       Q And from what I understand would make all sorts
 7        Q Commonly used to describe individuals, some           7   of accusations and allegations is that fair to say?
 8    individuals who frequently appear before city councils      8       A That's correct.
 9    in open session and public comment; correct?                9       Q And in your mind just because somebody makes an
10        A Correct.                                             10   accusation or allegation doesn't mean that he or she is
11        Q Yeah. And I'll represent to you that if you go       11   guilty of something that they're being accused of;
12    to Miriam Webster dictionary at least the one online       12   correct?
13    there's a definition that matches generally what I just    13       A That's correct.
14    said. So it's pretty commonly understood. I think most     14       Q When you were asked to first review this
15    cities, if not all of them, have one or more individuals   15   declaration with regards to paragraph 13, did you have
16    who appear to be at least in some people's views           16   any question in your mind why it is that you're being
17    gadflies; correct?                                         17   asked to talk about Judy, Judith Bingham coming before
18        A Correct.                                             18   at least once city council meeting and something about
19        Q Did you have sort of gadfly individuals who          19   violations of conflict of interest law? Did you have
20    would show up in your city council meetings?               20   any question in your mind why you were being asked to go
21        A Yes, we did.                                         21   over this and sign this?
22        Q Would it be fair to characterize in your             22       A No.
23    opinion Ms. Bingham as one of those gadflies?              23       Q As far as you were concerned at the time you
24        A Yes.                                                 24   were on the council there weren't any conflicts of
25          MS. VANDERWEELE: Object to the form of that          25   interest by these individuals; correct?




                                                                                           17 (Pages 62 to 65)
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                                                          66                                                              67
 1        A Not that I was aware of, no.                         1       Q All right. Now you can set this aside, this
 2        Q Take a look at paragraph 14.                         2   Exhibit Number 3. I don't have a whole lot of questions
 3        A Yes, sir. Okay.                                      3   you want to take a quick break? I think we will be done
 4        Q That's correct as to your understanding at the       4   by noon it's up to you or we can just keep plowing
 5     time?                                                     5   ahead.
 6        A That is correct.                                     6         MS. VANDERWEELE: I'm fine to keep going.
 7        Q Okay. Let's look at paragraph 15. Have you           7         MR. DUNN: I'm good to. It's up to you.
 8     had a chance to read paragraph 15?                        8         THE WITNESS: I'm good.
 9        A Yes, I have.                                         9   BY MR. DUNN:
10        Q You were on the council during the litigation       10       Q All right. So the Zoom conversation that you
11     with WRCOG over the TUMF fees?                           11   had with the insurance company attorneys lasts about 45
12        A Yes.                                                12   minutes; correct, estimated?
13        Q And at some point the trial judge made a            13       A Yes.
14     decision in that case?                                   14       Q Okay. And was it your understanding at the end
15        A Yes.                                                15   of that conversation you would be sent a declaration
16        Q And the city subsequently -- the city council       16   like Exhibit 3 to review and sign?
17     subsequently decided to appeal?                          17       A That is correct.
18        A That's correct.                                     18       Q And I don't know -- I apologize if I asked you
19        Q Was the case resolved before you left the city      19   this already but how long was it after the Zoom
20     council in 2014 or was it still on appeal? Do you        20   conversation before you got the declaration?
21     remember?                                                21       A I would say not more than a week.
22        A I believe it was still on appeal.                   22       Q Was there any telephonic communication during
23        Q So the case hadn't been finally resolved;           23   that time period? So that's after the Zoom and before
24     correct?                                                 24   you got the declaration, did you have any phone calls
25        A I don't believe so, no.                             25   with the insurance company attorneys?

                                                          68                                                              69
 1        A No.                                                  1       A Not initially.
 2        Q So the next thing that really happened -- was        2       Q Okay. So it -- kind of when you had more time
 3    there any email communication?                             3   available to you you were able to read in it's entirety
 4        A The only thing emailed was the declaration.          4   the attachment?
 5        Q So you get the email, you still have a copy of       5       A That's correct.
 6    it; right?                                                 6       Q Probably within what 24 hours of first opening
 7        A Yes, I believe so.                                   7   it?
 8        Q You're going to hold onto that, print it and         8       A It might have been somewhere in that time, yes.
 9    send it to me? I'll give you an address.                   9       Q When you went through it did you have any
10        A Yes, I will.                                        10   questions in your mind?
11        Q Thank you. Tell me what happened? You open          11       A I believe there was some wording that we
12    your email, you look at your email one day and there's    12   changed, very minor. Again as I said previously very
13    an email from the insurance company with an attachment;   13   minor working just for clarification.
14    correct?                                                  14       Q Do you remember the wording that you changed?
15        A Yes.                                                15       A No, I don't at this moment, I don't.
16        Q And the attachment is this declaration?             16       Q So even going through it, the declaration like
17        A Yes.                                                17   we just did it didn't refresh your recollection?
18        Q Was there any other document attached to it?        18       A I -- I believe now that you mention it I was
19        A No, I believe just the declaration.                 19   more concerned with there's this -- in the sentence here
20        Q Okay. When you opened the email did you also        20   that says about as my time as the authority or the
21    open the attachment?                                      21   financing authority chair person, the clarification that
22        A I read the email and then I believe I did open      22   I wanted in there was just that I wasn't the chair
23    the attachment, yes.                                      23   person at all times.
24        Q Did you read the whole attachment at the time       24         You're only the chair person of those different
25    that you first opened it?                                 25   authorities when you are the mayor, seated mayor that




                                                                                          18 (Pages 66 to 69)
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                                                           70                                                              71
 1    was the only -- so again three different times being        1       A No --
 2    mayor during those two-year periods I would have been       2       Q I'm sorry.
 3    the chair person of whatever redevelopment financing        3       A They did not. I knew where it would go. Again
 4    authority. And I think we had another one too. But          4   having going through these situations previously whether
 5    that would have been the only time I was chairman.          5   it was a declaration or a deposition. I know once I
 6    Again I believe that was a very minor point. I just,        6   give a deposition then it's a free for all whoever is
 7    you know...                                                 7   involved in the case to get their lawyers to depose me
 8        Q And then when you saw something that you wanted       8   or try to get their own clarification of what I was
 9    to make that clarification on did you pick up the phone     9   saying.
10    and call the insurance company attorneys? How did you      10       Q Okay. So in that second phone call maybe was a
11    convey that edit or change to them?                        11   Zoom, lasted approximately 15 minutes, did you say,
12        A After receiving the initial email and getting        12   "I'll sign it and send it back," the declaration is that
13    the opportunity to read over the email we set up a         13   what happened?
14    meeting to go over the declaration to make sure if there   14       A The instructions were if everything is approved
15    were any changes I needed to make. Very short phone        15   by me, if I would please sign that and either email it
16    call, I believe. Yeah, I believe it was a phone call.      16   or scan it back. I believe I chose scan. Because it
17           It might have been a Zoom now just to go over       17   was -- I mean I have a fax in my office. But I think it
18    it and to make any changes that we needed and it was       18   was...
19    probably less than 15 minutes. And just I signed the       19       Q And there was another version that came with
20    back page scanned and then send it over. I don't           20   some minor edits or corrections you said?
21    believe I emailed it. I think I scanned it.                21       A No, we didn't -- we didn't make any. I brought
22        Q Did any one of the insurance company attorneys       22   up points that I felt were. But I don't think we made
23    tell you then what was going to happen with this           23   any changes to it. Because it was very minor. Again
24    declaration? In other words where it was going to go or    24   that was the idea that I was chair person at all time I
25    how it was going to be used, something to that effect?     25   don't think it needed to be, you know, clarified while I

                                                           72                                                              73
 1    was mayor I was chair person. So that's why that was        1   the Home Depot.
 2    never put in.                                               2         Have you ever talked with Mr. Burg or
 3       Q So you signed it, it's emailed back to the             3   Mr. Castaldo or any other former members of the city
 4    insurance company attorneys, it's on January 24th of        4   council about this matter?
 5    2022.                                                       5       A No, I have not, no.
 6          When was the next time you had any further            6       Q Okay. All right. Have any of them reached out
 7    contact with them after that?                               7   to you?
 8       A Just prior to coming into here.                        8       A No.
 9       Q When was that?                                         9         MR. DUNN: Okay. I think that's all the
10       A I think this week.                                    10   questions I have. So thank you. I need to get you an
11       Q And how did that contact occur? Did they call         11   address.
12    you or you call them?                                      12         MS. VANDERWEELE: I have follow-up questions as
13       A No, Meagan called me and let me know that I           13   well.
14    asked if it was true that I was going to be deposed, if    14         MR. DUNN: Sure. Yeah. Counsel will ask you
15    I was going to be deposed and I said, "Yes," and the       15   questions. Did you want to take a break or do you want
16    day. She said she would be here as well.                   16   to just go right into it?
17       Q What else was discussed?                              17         MS. VANDERWEELE: I'm fine to keep going unless
18       A That was it. Did we need to meet? And I said,         18   Mr. DeForge you'd like to take a break before my
19    "No, I don't believe so." So we never met until I saw      19   questions?
20    her in here this morning. I didn't even now that was       20         MR. DUNN: Would you like to trade spots?
21    Meagan because I only saw her on a Zoom call.              21         MS. VANDERWEELE: I'm fine. Except will that
22       Q All right. Before this deposition today did           22   make the video difficult?
23    you ever talk with anyone else about this deposition?      23         THE VIDEOGRAPHER: He's going to be facing
24    In other words, you talked for example with your           24   towards you.
25    business friend and partner who was waiting for you at     25         MS. VANDERWEELE: Do you want me to just come




                                                                                           19 (Pages 70 to 73)
     Case 5:20-cv-02164-GW-KK Document 53-6 Filed 07/05/22 Page 21 of 52 Page ID #:2084
                                                           74                                                              75
 1    over to this other side?                                    1      A Yes, I do recall exchanging them.
 2          THE VIDEOGRAPHER: That will work.                     2      Q And at any time did I ever tell you that I
 3          MS. VANDERWEELE: Sure. Why don't we take a            3   represented the City of Beaumont?
 4    quick break to refigure.                                    4      A Not that I recall.
 5          THE VIDEOGRAPHER: Off the record. The time is         5      Q At all times I told you I represented the
 6    11:26 a.m.                                                  6   defendant in this case National Union Fire Insurance; is
 7             (Recess taken.)                                    7   that correct?
 8          THE VIDEOGRAPHER: On the record the time is           8      A That is correct.
 9    11:30 a.m.                                                  9      Q And if you look at actually the declaration
10                  CROSS EXAMINATION                            10   that you signed. I don't know if you got it in front of
11    BY MS. VANDERWEELE:                                        11   you?
12       Q Mr. DeForge, I have just a few follow-up              12      A Yes, I do.
13    questions based on Counsel's questioning. I'm Meagan       13      Q It's got the case caption on there at the top.
14    Vanderweele you and I have spoken before; correct?         14   Do you see that?
15        A Yes. Correct.                                        15      A Yes, I do.
16       Q And you understand that I represent National          16      Q And it's Western Riverside Council of
17    Union Fire Insurance Company?                              17   Governments is one of the plaintiffs; correct?
18        A That is correct.                                     18      A That's correct.
19       Q And when we spoke on the phone before you             19      Q The other plaintiff is City of Beaumont;
20    signed the declaration do you recall exchanging emails     20   correct?
21    with me with some questions about who the parties were     21      A Yes.
22    in the lawsuit?                                            22      Q And then National Union Fire Insurance Company
23        A I don't recall.                                      23   of Pittsburgh is the defendant; correct?
24       Q Do you at least recall exchanging emails with         24      A That is correct.
25    me?                                                        25      Q And do you recall before I even sent you a


                                                           76                                                              77
 1    draft declaration to review I informed you that WRCOG       1      A That's correct.
 2    and the City of Beaumont were suing my client National      2      Q And during that Zoom session I believe you made
 3    Union Fire Insurance Company?                               3   some changes which we've already talked about today?
 4        A I don't recall. I don't recall.                       4      A Yes.
 5        Q Okay. Do you recall receiving a series of             5      Q And then we sent you an updated declaration
 6    emails to that effect?                                      6   based on our Zoom meeting; is that correct?
 7        A I don't recall. But I would have to go back           7      A That would be correct, yes.
 8    and again look at my email archives.                        8      Q And did you again have an opportunity to review
 9        Q Fair enough. All of the information that's in         9   this declaration before signing it?
10    the declaration that you signed as you sit here today to   10      A Yes.
11    the best of your knowledge and belief everything in here   11      Q And did you do that? Did you review the
12    is true and correct?                                       12   updated declaration, review it, confirm that it was
13        A That is correct.                                     13   accurate before you signed it?
14        Q Are there any changes, additions or revisions        14      A Yes, I did.
15    that you would like to make to this declaration?           15      Q Counsel was asking you questions about
16        A No, I do not.                                        16   paragraph three of the declaration regarding insurance.
17        Q And the information, in all fairness to you as       17   And I believe you told us that the city council had to
18    Counsel's asked you, I was the one who physically or my    18   vote and approve matters concerning the claims that were
19    office drafted this document; correct?                     19   brought against the city.
20        A That's correct.                                      20         Do I understand that correctly?
21        Q And did we provide you a draft of this               21      A That is correct.
22    declaration to review before signing it?                   22      Q Now if the city -- or strike that. When you
23        A Yes, you did.                                        23   were on city council are you aware that the city had
24        Q And in fact we had a Zoom meeting to review          24   insurance policies that were issued to the city?
25    this declaration line by line; correct?                    25      A Yes, I did. Yes, I was.




                                                                                           20 (Pages 74 to 77)
     Case 5:20-cv-02164-GW-KK Document 53-6 Filed 07/05/22 Page 22 of 52 Page ID #:2085
                                                           78                                                              79
 1       Q All right. Now if the city believed it had a           1   was Keenon and Associates would have been our risk
 2    loss, that it was a loss that was covered by a policy,      2   management company, I believe.
 3    okay? Would the city council have to vote and approve       3      Q Do you recall a gentleman named James Gregg?
 4    whether the city was going to pursue a claim against one    4      A Yes, I do.
 5    of the insurance companies that had issued the city a       5      Q And was Mr. Gregg did he work with ERMAC,
 6    policy? Is that something that the city council would       6   E-r-m-a-c?
 7    have to vote on and approve?                                7      A I don't recall that company. But I do remember
 8           MR. DUNN: Objection. Incomplete hypothetical.        8   the name.
 9    Calls for speculation and legal conclusion. You can         9      Q Did Mr. Gregg -- do you recall any
10    answer.                                                    10   conversations that you ever had with Mr. Gregg?
11           MS. VANDERWEELE: I'm happy to rephrase it if        11      A No, I do not in an official capacity.
12    you don't understand.                                      12      Q As you sit here today do you have any
13           THE WITNESS: Please maybe clarify what you're       13   understanding of what Mr. Gregg's role was for the city
14    saying.                                                    14   of Beaumont?
15    BY MS. VANDERWEELE:                                        15      A Just off my head trying to understand that I
16       Q Sure. So if the city -- the city has insurance        16   was -- thought he had to do with the bond sales. But
17    policies; correct?                                         17   that might be someone else.
18        A Yes.                                                 18      Q Okay. Back to my original question about
19       Q When you were on city council?                        19   insurance claims that the city would make. So the city
20        A Yes.                                                 20   had insurance policies.
21       Q And the city had a contracted risk manager when       21         Were there times when you were on city council
22    you were on city council?                                  22   that the city would try to recover money from the
23        A Correct.                                             23   insurance companies?
24       Q And would he -- who was that person?                  24      A I don't remember us ever going after an
25        A I believe, I'm not a 100 percent sure, that it       25   insurance company to recover any money.

                                                           80                                                              81
 1       Q If hypothetically speaking while you were on           1       Q And with respect to the settlements that city
 2    city council, the city believed that it had a loss that     2   council approved, before the city's lawyer would
 3    was covered under a policy, is that the type of thing       3   announce in public session the approval of a settlement
 4    based on your knowledge and experience having been on       4   that approval had to come from city council; correct?
 5    city council for 15 years, is that something that the       5       A Yes.
 6    city council would have to vote on and approve? That        6       Q That's okay. Let me just reask that question
 7    being whether to pursue a claim against one of the          7   so we got a clean question and answer. Before -- so you
 8    city's insurer's?                                           8   just explained to me in closed session and again I don't
 9          MR. DUNN: Objection. Incomplete hypothetical.         9   want to know anything about any specific closed session
10    Lacks foundation. Calls for a legal opinion or             10   discussion, that's privileged.
11    conclusion.                                                11          But generally speaking if a claim is made
12          THE WITNESS: I'm just waffling a little              12   against the city that claim would be discussed in closed
13    because in our closed sessions when claims were            13   session; correct?
14    discussed we had legal counsel with us. Legal counsel      14       A Correct.
15    would advise whether we should pay the claim out if it     15       Q And then the city's lawyer would make a
16    was small enough from the city or we should deny the       16   recommendation to city's counsel about whether to settle
17    claim and pursue it through a different way.               17   the claim?
18          Whether it was JPA -- funding we had through         18       A That's correct.
19    the JPA, however that might have looked. We were not --    19       Q And then would the city council have to approve
20    city council would have approved, if it came we suggest    20   of that settlement before the city's lawyer could
21    you approve this. And council would approve and then       21   announce that settlement in public session?
22    come out of closed session and make an announcement that   22       A That is correct.
23    we approve settlement on case XYZ whatever it might have   23       Q And the purchase of insurance on behalf of the
24    been.                                                      24   city, it's my understanding although city staff whether
25    BY MS. VANDERWEELE:                                        25   it be the city manager or legal counsel, city staff




                                                                                           21 (Pages 78 to 81)
     Case 5:20-cv-02164-GW-KK Document 53-6 Filed 07/05/22 Page 23 of 52 Page ID #:2086
                                                           82                                                              83
 1    would make recommendations to city council about which      1   that correct?
 2    insurance package to purchase; is that correct?             2      A That is correct.
 3       A That's correct.                                        3      Q And ultimately the ULC principals plead guilty
 4       Q Ultimately the city council would have to vote         4   to violating California conflict of interest law;
 5    on and approve the purchase of insurance for the city?      5   correct?
 6       A That's correct.                                        6         MR. DUNN: Objection. Lacks foundation.
 7       Q The information in the declaration regarding           7   BY MS. VANDERWEELE:
 8    the bond offering documents, so I'm talking about           8      Q You can answer?
 9    paragraphs nine, ten, eleven and twelve.                    9      A I don't -- I don't personally know if they pled
10       A Yes.                                                  10   guilty to that particular charge or different charge or
11       Q Your knowledge about the ULC's principals             11   lesser charges.
12    involved in those bonds is based on your knowledge and     12      Q Have you ever reviewed the plea agreements or
13    experience that you gained while serving as city           13   the plea documents that were signed by the ULC
14    council; correct?                                          14   principals?
15       A That is correct.                                      15      A No, I did not. Never had the opportunity.
16       Q Then looking at paragraph 13 Counsel asked you        16      Q Okay. Ms. Bingham do you recall that she had
17    about gadflies, you remember that?                         17   formed an organization or a group called Beaumont -- a
18       A Yes, I do.                                            18   concerned citizens group?
19       Q All right. And Judy Bingham among others              19      A Yes.
20    members of the public would raise concerns to city         20      Q And I think it was BCRG was the acronym. Do
21    council during the public comment period?                  21   you recall that at all?
22       A That's correct.                                       22      A Yes.
23       Q Okay. And one of the concerns that Ms. Bingham        23      Q And I believe that stands for Beaumont Citizens
24    raised was concerns regarding whether the retention of     24   for Responsible Growth?
25    ULC violated California conflict of interest law; is       25      A That's correct. Yes.

                                                           84                                                              85
 1       Q Okay. When you were on city council do you             1       A I may have gone on it a time or two, yes.
 2    recall that Urban Logic Consultants and the three           2       Q When you served on city council I take it you
 3    principals actually filed a defamation suit against the     3   were aware of the California Fair Political Practices
 4    BCRG group and it's members?                                4   Commission and the requirements under the FPPC?
 5       A Yes, I do.                                             5       A I thought I was, yes.
 6       Q And do you recall what that lawsuit was about?         6       Q Did you have to fill out like a form 700?
 7       A I believe if I recall correctly regarding              7       A Yes, I did.
 8    Ms. Bingham posted things on that site, saying things,      8       Q So did you understand that when you were on
 9    publishing things that were -- what is the word I'm         9   city council you could not be financially interested in
10    looking for?                                               10   any contract in which you are participating in your role
11       Q Defamatory?                                           11   as a city council member?
12       A Defamatory against them, with malicious               12       A That's correct. Yes.
13    content. I remember the record malice. Because I           13       Q I take it you never did that; correct?
14    remember that part of the judge's ruling was they didn't   14       A I thought I never did that, yes.
15    show malice. They did show other things that she had       15       Q All right. Counsel asked you about the WRCOG
16    done.                                                      16   litigation and when you were on city council actually
17       Q Was that -- when you were on city council are         17   when you were mayor 2008 do you recall WRCOG sending you
18    you aware that that lawsuit was ultimately dismissed?      18   a demand letter?
19       A My understanding is it was dismissed, yes.            19       A Sending me personally or the city?
20       Q And the website that Ms. Bingham and others           20       Q Fair. Do you remember in 2008 when you were
21    were posting on that was called, "Beaumont Gate," I        21   mayor that WRCOG sent the city a demand letter?
22    believe?                                                   22       A Could you please define for me what is a,
23       A Beaumont Gate, yes.                                   23   "Demand letter"?
24       Q When you were on city council did you ever            24       Q Sure. You know what I think we can just do
25    actually go on and look at the Beaumont Gate website?      25   this an easier way and I will be quick. I guess we'll




                                                                                           22 (Pages 82 to 85)
     Case 5:20-cv-02164-GW-KK Document 53-6 Filed 07/05/22 Page 24 of 52 Page ID #:2087
                                                           86                                                              87
 1    mark this as Exhibit 4. I've handed you what we'll mark     1   lawsuit?
 2    as Exhibit 4 to the deposition. And I'll let you take a     2      A I wasn't aware of that, no.
 3    moment to look at it. So the court reporter has marked      3      Q Were you aware that his Law Firm Best, Best
 4    the document that's in front of you Exhibit 4. For the      4   Kreiger -- Kreiger represented WRCOG in that lawsuit?
 5    record this is Bates stamped Beaumont AIG 00029989          5      A Yes.
 6    through 29990 and it's a letter dated June 10, 2008 from    6      Q And that's the same law firm that's now
 7    WRCOG to the honorable mayor Brian DeForge mayor city of    7   representing the city ironically; correct?
 8    Beaumont.                                                   8      A Yes.
 9         Do you see that?                                       9      Q Do you find that a conflict of interest?
10       A Yeah. I see that.                                     10        MR. DUNN: Objection. Calls for legal opinion
11       Q It's signed by Chuck Washington as chair of           11   or conclusion.
12    WRCOG and Jeff Stone vice chair of WRCOG.                  12        THE WITNESS: I just find it interesting.
13         Do you see that?                                      13           (Exhibit 4 was marked for identification
14       A Yes, I do.                                            14           and attached hereto.)
15       Q And you know who those individuals?                   15   BY MS. VANDERWEELE:
16       A Yes, I do.                                            16      Q Why do you say that?
17       Q You understand that Mr. Dunn here represents          17      A Politics make strange bedfellows.
18    WRCOG?                                                     18      Q Understood. Look at Exhibit 4 do you recall
19       A Yes, I do.                                            19   receiving this letter when you were mayor of the city of
20       Q Do you also that Mr. Dunn today in this lawsuit       20   Beaumont?
21    represents the city of Beaumont?                           21      A I do not.
22       A I do now, yes.                                        22      Q Do you recall responding to this letter?
23       Q And WRCOG -- do you understand in the lawsuit         23      A I don't remember. I do not.
24    that WRCOG ultimately filed against the city that          24      Q We will mark this as Exhibit 5. So the court
25    Mr. Dunn Counsel here today represented WRCOG in that      25   reporter has handed you what she has marked as Exhibit

                                                           88                                                              89
 1    5. This is a July 2, 2008 letter from the city of           1   responsibility to remit fees in accordance with
 2    Beaumont signed by you as mayor; correct?                   2   Beaumont's TUMF, T-u-m-f, ordinance and administrative
 3        A That's correct.                                       3   plan.
 4        Q And do you see in the first sentence it states,       4         Do you see that?
 5    "I am responding to your letter of June 10, 2008            5      A Yes.
 6    regarding the TUMF program and a related audit being        6      Q And the next sentence indicates that WRCOG felt
 7    conducted by WRCOG"?                                        7   that the value of TUMF which should have been collected
 8        A Yes.                                                  8   from building permits since the inception of the program
 9        Q Does this at all refresh your recollection            9   was $59,000,000; correct?
10    whether you would have received and reviewed the           10      A Yes.
11    document that has been marked as Exhibit 4?                11      Q And I understand you disagree with WRCOG's
12        A Yes, it does.                                        12   position?
13             (Exhibit 5 was marked for identification          13      A Yes, I do.
14             and attached hereto.)                             14      Q All right. But in any event WRCOG was claiming
15    BY MS. VANDERWEELE:                                        15   that the city in June of 2008 owed WRCOG looks like
16        Q And the signature that's on the Exhibit 5            16   $55,000,000 if I'm doing my math correctly?
17    that's your signature?                                     17      A That's correct. Yes.
18        A Yes, it is.                                          18      Q And if you look at the last page of this
19        Q And I take it you would have reviewed this           19   document at the very end it states that, "WRCOG further
20    letter before you signed it?                               20   demands that any and all TUMF fees collected by Beaumont
21        A Yes.                                                 21   pursuant to the terms of the Beaumont's TUMF ordinance
22        Q Turning back to Exhibit 4, I'm sorry to jump         22   and the administrative plan B retained by Beaumont and
23    around so let me know if I lose you. In Exhibit 4 the      23   not expended."
24    second paragraph talks about the dispute between the       24         Do you see that?
25    city of Beaumont and WRCOG regarding Beaumont's            25      A Yes.




                                                                                           23 (Pages 86 to 89)
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                                                          90                                                              91
 1       Q And WRCOG in the previous sentence was                1   into; correct?
 2    demanding that the city of Beaumont pay the $54 and        2       A Correct.
 3    $55,000,000 in unremitted TUMF fees that WRCOG was         3       Q Ultimately however WRCOG did sue the city;
 4    claiming.                                                  4   right?
 5          Do you understand that?                              5       A Yes.
 6       A Yes.                                                  6       Q Was that in 2009?
 7       Q And ultimately a tolling agreement was entered        7       A Yes.
 8    into. Do you recall that at all?                           8       Q Then after the lawsuit was filed the city -- do
 9       A Yes, vaguely.                                         9   you recall -- I believe it was one the last city council
10       Q WRCOG was threatening litigation against the         10   meetings that you would have been a part of, do you
11    city in 2008?                                             11   recall that the city passed a resolution to withdraw
12       A Yes.                                                 12   it's membership from WRCOG?
13       Q And that's when you were mayor?                      13       A I do. I do remember that, yes.
14       A Yes.                                                 14       Q And the reason the city was withdrawing it's
15       Q And to avoid litigation with WRCOG an agreement      15   membership from WRCOG was because WRCOG had sued the
16    was entered into tolling the time -- strike that.         16   city; right?
17    Poorly phrased question.                                  17         MR. DUNN: Objection. Calls for information
18          When you were mayor to avoid WRCOG filing a         18   protected by the --
19    lawsuit with a tolling agreement entered into between     19         THE COURT REPORTER: I'm sorry the what
20    the city and WRCOG?                                       20   process?
21       A Yes.                                                 21         MR. DUNN: The deliberative and mental thought
22       Q And did that tolling agreement have to be            22   process privileges. And since the city owns the -- or
23    approved by the city council for the city of Beaumont?    23   has the privilege it asserts privilege at this point and
24       A Yes.                                                 24   would ask that the former counsel member not answer that
25       Q Because that's contract that the city entered        25   question.


                                                          92                                                              93
 1           MS. VANDERWEELE: I can ask it a different way.      1      A That is correct.
 2    I'll withdraw the question. I'm going to mark as           2      Q And it looks like this resolution was passed,
 3    Exhibit 6, if would you hand that to the court reporter    3   approved and adopted on December 7th, 2010?
 4    to mark.                                                   4      A Yes.
 5             (Exhibit 6 was marked for identification          5      Q And it was signed by you and attested by the
 6             and attached hereto.)                             6   deputy city clerk?
 7    BY MS. VANDERWEELE:                                        7      A Yes.
 8         Q So the court reporter has handed you what has       8      Q Do you recall approving this resolution when
 9    been marked as Exhibit 6. This is resolution number        9   you were on city council in 2010?
10    2010-35. And it's a resolution of the city of Beaumont    10      A Yes.
11    authorizing withdrawal of the city of Beaumont from       11      Q And I take it you would have reviewed this
12    membership and participation in the Western Riverside     12   document before it was signed?
13    Council of Governments; correct?                          13      A Yes.
14         A Yes.                                               14      Q If you turn to the fourth page of Exhibit -- of
15         Q And actually if you turn to -- it's the eighth     15   this Exhibit, Exhibit 6, I want to focus your attention
16    page of this document. So it's -- the Bates page number   16   to paragraph 27, 28.
17    at the bottom is 701?                                     17         Let me know when you're there?
18         A Okay.                                              18      A Yes, I'm here.
19         Q Are you there?                                     19      Q Paragraph 27 states that, "From and after
20         A Yes.                                               20   August 2008 WRCOG repeatedly threatened to sue the city
21         Q And do you see it says -- I believe your           21   for a lack of participation in the TUMF program as it
22    signature is on this?                                     22   relates to the CPFP demanding that the city pay WRCOG
23         A That's correct.                                    23   some $59,000,000 and presumably forfeit any claim that
24         Q And is that because you were mayor of the city     24   the city might have to the gas tax."
25    of Beaumont in December of 2010?                          25         Do you see that?




                                                                                          24 (Pages 90 to 93)
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                                                           94                                                              95
 1        A Yes, I do.                                            1   agreements entered by the city."
 2        Q And then in paragraph 28 it states that, "By          2         Do you see that?
 3    October 2008 it had become clear to this council that       3       A Yes, I do.
 4    the city's continued participation in the TUMF program      4       Q And these paragraphs I just read are recitals
 5    as outlined above had become a legal liability for which    5   set forth in this resolution; correct?
 6    termination of the city's continued participation in the    6       A Yes.
 7    TUMF program was necessary in order to reduce it's          7       Q And are recitals the kind of the background or
 8    exposure. And that legal fees expected to be incurred       8   the basis for resolutions that are passed by city?
 9    in the legal litigation will exceed $1,000,000."            9       A Yes.
10          Do you see that?                                     10       Q So the paragraphs that I just read those were
11        A Yes, I do.                                           11   all bases for passing the resolution to withdraw the
12        Q Then this document goes on to discuss this           12   city of Beaumont from it's membership and participation
13    lawsuit that was filed by WRCOG in paragraph 34;           13   in WRCOG?
14    correct?                                                   14       A Yes. Correct.
15        A Yes.                                                 15       Q I think before the deposition started you were
16        Q And paragraph 34, let me know when you're            16   kind of telling us a little bit about your background.
17    there?                                                     17   I just want to make sure I've got some questions about
18        A I'm here.                                            18   that.
19        Q Okay. States that, "On September 15th, 2009          19         I understand you're in the construction
20    WRCOG sued the city asserting the city had failed to       20   business?
21    transmit collected fees to WRCOG and demanded that the     21       A That is correct.
22    city pay WRCOG an unspecified amount of TUMF program       22       Q You got a degree in facilities planning and
23    monies allegedly due to WRCOG and presumably to forfeit    23   management, construction management; correct?
24    any claim that the city might have to the gas tax which    24       A Yes.
25    claim fails to acknowledge the CPFFP and the development   25       Q You also have a bachelor's of arts in business

                                                           96                                                              97
 1    leadership?                                                 1   would you review the plans and specifications for the
 2        A Yes, I do.                                            2   public works projects that the city council approved?
 3        Q And you own your own -- is it construction            3      A I did not review every one of them. But I
 4    management firm?                                            4   reviewed a number of them, yes.
 5        A It's -- yes, it's construction management,            5      Q And the public works projects that the city
 6    construction maintenance.                                   6   undertook did all of those projects need to ultimately
 7        Q And how long have you been in the construction        7   be voted on and approved by city council?
 8    business?                                                   8      A That is correct.
 9        A Oh, officially since about 1977.                      9      Q I understand that city officials like the Urban
10        Q Okay. When you were on city council were you         10   Logic principals would make recommendations to city
11    also working in the construction business as a private     11   council about public works projects; correct?
12    citizen?                                                   12      A That is correct.
13        A Yes, I was. As well as director of maintenance       13      Q But ultimately the city council had to review
14    and operations for a school district.                      14   the plans, specifications and make their own independent
15        Q How long were you director of operations and         15   judgment as to whether the city should undertake those
16    maintenance for the school?                                16   project?
17        A I have been director of maintenance and              17      A That is correct.
18    operations for two school districts starting in 1995       18      Q The invoices that ULC would submit to the city
19    with Beaumont, went to 1998. From 1998 to 2009 I           19   for payment would those undergo a review process?
20    believe I was with Hemet Unified School District. Went     20      A They would undergo -- in our agenda we had a
21    back into construction for a little bit and then           21   consent agenda and there's a list of items to be paid in
22    Beaumont School District called me back and I was their    22   that consent agenda. We would list them, see what they
23    director from 2013 to 2017.                                23   were. If we had specific questions regarding an invoice
24        Q Given your background in construction and            24   we would ask -- any council member could ask a question
25    construction management when you were on city council      25   and get that answer.




                                                                                           25 (Pages 94 to 97)
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                                                           98                                                              99
 1       Q Are you referring to the warrant list?                 1   that Urban Logic did for the city over the decades that
 2        A Yes, that's correct, yes.                             2   they were engaged?
 3       Q So the warrant list would identify payments            3      A Well to say all of the work would be kind of --
 4    that the city either had or was going to make to the        4   but I'm familiar with the majority of what they did.
 5    various vendors and contractors that the city had           5      Q Sure. I can be more specific. There's a
 6    engaged?                                                    6   number of -- several -- countless -- I shouldn't say
 7        A That's correct.                                       7   that. Let me strike that.
 8       Q And city council had to vote on and approve all        8         Urban logic provided work to the city for it's
 9    of the payments identified on each warrant list?            9   public works projects; correct?
10        A That is correct.                                     10      A That is correct.
11       Q And if there were questions about a particular        11      Q And that's pursuant to contracts that Urban
12    invoice city council had the opportunity to ask those      12   Logic had entered into with the city before you joined
13    questions?                                                 13   the counsel; correct?
14        A That is correct. We could get a copy of that         14      A That's correct.
15    invoice as well.                                           15      Q And did you ever have an opportunity to review
16       Q With the invoices, the actual individual              16   those contracts?
17    invoices that contractors and vendors submitted would      17      A Before they came to -- I'm --
18    they be reviewed by the finance committee?                 18      Q Nope. That's good. Let me be a little bit
19        A We did not have a finance committee at that          19   more specific. When you were on city council as a city
20    time per se. They do now. We did not have one.             20   counsel member did you ever review those contracts that
21       Q When did the city have a -- first have a              21   had previously been entered into between the city and
22    financial committee that you can recall?                   22   Urban Logic?
23        A I believe it came in after my term of city           23      A Yes, I did.
24    council.                                                   24      Q And did you understand that there was a four
25       Q I take it you're familiar with all of the work        25   and a half percent fee cap for certain services that

                                                          100                                                            101
 1    Urban Logic provided to the city?                           1   city?
 2        A That is correct.                                      2      A Yes, I did.
 3        Q And that four and a half percent fee cap did          3      Q All right. Did you understand based on the
 4    you understand applied to plan check, inspection and        4   knowledge and information that you gained while you were
 5    construction management services?                           5   on city council, that the engineering services that
 6        A That is correct.                                      6   Urban Logic provided to the city were not subject to a
 7        Q Other, I guess, more technical services like          7   fee cap?
 8    engineering, design, contractor work were those services    8      A That was my understanding.
 9    subject to a four and a half percent fee cap?               9      Q All right. Now when you were on city council
10           MR. DUNN: Objection. Calls for legal opinion        10   did you ever believe that Urban Logic was submitting
11    or conclusion --                                           11   inflated invoices?
12           MS. VANDERWEELE: I'm simply asking you --           12      A No, I did not feel that.
13    sorry.                                                     13      Q Did you ever believe that Urban Logic was
14           MR. DUNN: Sorry. The contract speaks for            14   submitting invoices for phantom work, work that had not
15    itself. Thanks.                                            15   been actually done?
16           MS. VANDERWEELE: Let me reask the question.         16      A No.
17    BY MS. VANDERWEELE:                                        17      Q And I take it given your construction
18        Q You were on city council for 15 years; correct?      18   experience do you believe that you would have been able
19        A Yes.                                                 19   to determine whether Urban Logic while you were on city
20        Q And when you were on city council were you kept      20   council was submitting false, inflated or phantom
21    apprised of the work that Urban Logic was doing through    21   invoices.
22    staff reports and things like that?                        22         MR. DUNN: Objection. Lacks foundations.
23        A Yes, I was.                                          23         THE WITNESS: I on occasion reviewed their work
24        Q All right. And I take it you understood the          24   and their invoices together. And from my personal
25    type of services that Urban Logic was providing for the    25   public contract code having used it as well in my




                                                                                         26 (Pages 98 to 101)
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 1    position at school districts I found that their prices       1       Q And the capital improvement plans would set
 2    and everything that they do was in line with their           2   forth the public works projects that would be undertaken
 3    contracts as well as in line with what was going to be       3   by the city for a fiscal year?
 4    provided.                                                    4        A Yes.
 5    BY MS. VANDERWEELE:                                          5       Q And then the capital improvement plans as I
 6       Q Counsel asked you questions about the bond              6   understand it would include the identification the funds
 7    documents. And I believe you had said that there was, I      7   for each project, like where the money was coming from?
 8    think, financial analyst and bond counsel that would         8        A Yes.
 9    assist the city council with the bond offering documents     9       Q And then a budget for each public works
10    and before they were approved by city council provided      10   project; correct?
11    by recommendations?                                         11        A That is correct.
12       A That's correct. There's a whole team of                12       Q And all of that information, the projects, the
13    individuals that bring the bonds together.                  13   funding for those projects and the budget for those
14       Q And ultimately the city council has to take the        14   projects were all contained in the capital improvement
15    information that's given to them exercise their own         15   plans that were provided to the city council to review,
16    independent judgement on whether to approve of those        16   revise and ultimately vote on and approve; correct?
17    bond documents; correct?                                    17        A Correct.
18       A That is correct.                                       18         MS. VANDERWEELE: I think those are all the
19       Q And that's what you did when you were on city          19   questions I have for you. I appreciate your time today,
20    council; correct?                                           20   sir.
21       A Yes. Correct.                                          21         MR. DUNN: Yeah, I don't have any further
22       Q I think those -- no, I do have a few more              22   questions. Thank you.
23    questions. Capital improvement plans those all had to       23         MS. VANDERWEELE: Thank you.
24    be approved by city council?                                24         THE VIDEOGRAPHER: Off the record. The time is
25       A Yes.                                                   25   12:04 p.m.


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 1               (The proceedings were concluded at 12:04          1      I, Tracey R. Boyer, CSR # 12346, a Certified
 2               p.m.)                                             2   Shorthand Reporter in and for the County of Riverside,
 3     ///                                                         3   State of California, do hereby certify:
 4     ///                                                         4      That prior to being examined, the witness named in
 5     ///                                                         5   the foregoing deposition was by me duly sworn to testify
 6                                                                 6   the truth, the whole truth, and nothing but the truth.
 7                                                                 7      That said deposition was taken before me at the time
 8               PENALTY OF PERJURY CERTIFICATE                    8   and place set forth and was taken down by me in
 9                                                                 9   shorthand and thereafter reduced to computerized
10         I, Brian DeForge, do hereby declare under penalty of   10   transcription under my direction and supervision, and I
11     perjury that I have read the foregoing transcript; that    11   hereby certify the foregoing deposition is a full, true
12     I have made such corrections as noted herein, in ink,      12   and correct transcript of my shorthand notes so taken.
13     initialed by me, or attached hereto; that my testimony     13      I further certify that I am neither counsel for nor
14     as contained herein, as corrected, is true and correct.    14   related to any party to said action nor in anywise
15         Executed this ______ day of ____________, 2022         15   interested in the outcome thereof.
16         at ____________, California.                           16      IN WITNESS WHEREOF, I have hereunto subscribed my
17                                                                17   name this 28th day of April, 2022.
18                                                                18
19                                                                19
20           __________________________________                   20
                  BRIAN DE FORGE                                  21   ____________________________________
21                                                                22      Tracey R. Boyer
22                                                                        Certified Shorthand Reporter No. 12346
23                                                                23
24                                                                24
25                                                                25




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17     REASON FOR CORRECTION:
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20     PAGE        LINE
21     CORRECTION:
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